Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 1 of 70 PageID# 6169



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

 PRO-FOOTBALL, INC.,                             )
                                                 )
        Plaintiff,                               )
                                                 )
        v.                                       )          Case No. 1:14-cv-01043-GBL-IDD
                                                 )
 AMANDA BLACKHORSE, et al.,                      )
                                                 )
        Defendants.                              )

                          MEMORANDUM OPINION AND ORDER

        THIS MATTER is before the Court on two sets of cross-motions for summary judgment.

 First, Plaintiff Pro-Football, Inc. (“PFI”), Defendants Amanda Blackhorse, Marcus Briggs-

 Cloud, Phillip Gover, Jillian Pappan, and Courtney Tsotigh (“Blackhorse Defendants”), and the

 United States of America filed cross-motions for summary judgment on PFI’s claims challenging

 the constitutionality of Section 2(a) of the Lanham Act (Counts III–VI) (Docs. 54, 105, and 108).

 Second, Blackhorse Defendants and PFI filed cross-motions for summary judgment on PFI’s

 claims contesting the Trademark Trial and Appeal Board’s (“TTAB”) Order cancelling the

 registrations of six of PFI’s trademarks on the grounds that they consisted of matter that “may

 disparage” Native Americans and bring them into contempt or disrepute, and that the defense of

 laches does not bar the claims (Counts I, II, and VII) (Docs. 69 and 79). This case concerns

 Blackhorse Defendants’ petition to cancel the registration of six trademarks owned by PFI on the

 grounds that the marks consisted of matter that “may disparage” a substantial composite of

 Native Americans and bring them into contempt or disrepute under Section 2(a) of the Lanham

 Act, 15 U.S.C. § 1052(a), at the time of their registrations (1967, 1974, 1978, and 1990).
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 2 of 70 PageID# 6170



        There are two issues before the Court. The first issue is whether the Court should grant

 PFI’s Motion for Summary Judgment on Constitutional Claims and deny the cross-motions for

 summary judgment filed by Blackhorse Defendants and the United States of America. PFI

 makes the following arguments: (1) Section 2(a) of the Lanham Act violates the First

 Amendment by restricting protected speech, imposing burdens on trademark holders, and

 conditioning access to federal benefits on restrictions of trademark owners’ speech; (2) Section

 2(a) of the Lanham Act is unconstitutionally vague in violation of the Fifth Amendment because

 it does not provide notice as to which marks “may disparage,” it authorizes arbitrary and

 discriminatory enforcement, and it is impermissibly vague as-applied to PFI; and (3) the TTAB

 Order violates the Due Process and Takings Clauses of the Fifth Amendment because it deprives

 PFI of its property without due process and constitutes an unconstitutional taking of PFI’s

 property.

        The second issue is whether the Court should grant PFI’s Cross-Motion for Summary

 Judgment on Claims I, II, and VII, and deny Blackhorse Defendants’ Motion for Summary

 Judgment on Counts I, II, and VII of Complaint where PFI argues that (1) the record does not

 establish by a preponderance of the evidence that a substantial composite of Native Americans

 believe that the Redskins Marks consisted of matter that “may disparage” them at the time of

 their registrations (1967, 1974, 1978, and 1990), and (2) the defense of laches bars Blackhorse

 Defendants’ claims.

        The Court DENIES PFI’s Motion for Summary Judgment on Constitutional Claims and

 GRANTS the cross-motions for summary judgment filed by Blackhorse Defendants and the

 United States of America. With regard to PFI’s First Amendment challenge, the Court DENIES

 PFI’s Motion for Summary Judgment on Constitutional Claims and GRANTS the cross-motions



                                                2
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 3 of 70 PageID# 6171



 for summary judgment filed by Blackhorse Defendants and the United States of America for two

 reasons. First, Section 2(a) of the Lanham Act does not implicate the First Amendment. Second,

 the federal trademark registration program is government speech and is therefore exempt from

 First Amendment scrutiny.

        With regard to PFI’s Fifth Amendment challenge, the Court DENIES PFI’s Motion for

 Summary Judgment on Constitutional Claims and GRANTS the cross-motions for summary

 judgment filed by Blackhorse Defendants and the United States of America for two reasons.

 First, Section 2(a) of the Lanham Act is not void for vagueness because (1) PFI cannot show that

 Section 2(a) is unconstitutional in all of its applications; (2) Section 2(a) gives fair warning of

 what conduct is prohibited; (3) Section 2(a) does not authorize or encourage “arbitrary and

 discriminatory enforcement”; and (4) Section 2(a) is not impermissibly vague as applied to PFI.

 Second, the Takings Clause and Due Process Clause claims fail because a trademark registration

 is not considered property under the Fifth Amendment.

        The Court DENIES PFI’s Cross-Motion for Summary Judgment on Claims I, II, and VII,

 and GRANTS Blackhorse Defendants’ Motion for Summary Judgment on Counts I, II, and VII

 of Complaint. With regard to PFI’s “may disparage” claim, the Court DENIES PFI’s Cross-

 Motion for Summary Judgment on Claims I, II, and VII, and GRANTS Blackhorse Defendants’

 Motion for Summary Judgment on Counts I, II, and VII of Complaint because the (1) dictionary

 evidence; (2) literary, scholarly, and media references; and (3) statements of individuals and

 groups in the referenced group show that the Redskins Marks consisted of matter that “may

 disparage” a substantial composite of Native Americans during the relevant time period.

        With regard to PFI’s laches claim, the Court DENIES PFI’s Cross-Motion for Summary

 Judgment on Claims I, II, and VII, and GRANTS Blackhorse Defendants’ Motion for Summary



                                                 3
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 4 of 70 PageID# 6172



 Judgment on Counts I, II, and VII of Complaint for two reasons. First, the “may disparage”

 claim is not barred by laches because Blackhorse Defendants did not unreasonably delay in

 petitioning the TTAB. Second, laches does not apply because of the public interest at stake.

                                          BACKGROUND

        The “Washington Redskins” are a well-known professional football team.                     The

 “Redskins” mark was first used by the “Washington Redskins” National Football League

 (“NFL”) franchise in 1933 when then-owner George Preston Marshall selected the name while

 the team was located in Boston, Massachusetts. “Redskins” was chosen to distinguish the

 football team from the Boston Braves professional baseball team.1 (Compl. ¶ 35.) The team has

 used the name ever since. (Id. ¶ 34; Doc. 41 ¶ 34.) The United States Patent and Trademark

 Office (“PTO”) approved and registered the mark in 1967. (Doc. 56 at 1.) Five additional

 variations of “Redskins” trademarks were approved and registered between 1974 and 1990

 (collectively “Redskins Marks”). The registrations of the Redskins Marks have been renewed

 repeatedly since 1967, with the most recent renewal occurring in 2015.2 (Doc. 51 ¶ 8(a)–(f)).

 PFI owns, and has always owned, the Redskins Marks. (Id.) The Redskins Marks are:

     1. Registration No. 0836122 (registered September 26, 1967) for the mark THE
        REDSKINS (stylized), shown below, for “entertainment services—namely, football
        exhibitions rendered in stadia and through the media of radio and television broadcasts,”
        in Class 41;




 1
   “At the time the name ‘Redskins’ was chosen for the team, four players—Louis Weller, John Orien
 Crow, David Ward and Larry Johnson—and the team’s head coach William “Lone Star” Dietz identified
 themselves as Native Americans.” (Compl. ¶ 34.)
 2
   Renewal is not a meritorious review of the registrability of trademark; instead it is merely an
 administrative mechanism to ensure that the trademark is current. To renew a trademark, the mark’s
 owner must file a combined declaration of use and application for renewal with the PTO under Sections 8
 and 9 of the Lanham Act, 15 U.S.C. §§ 1058–1059.
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Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 5 of 70 PageID# 6173




    2. Registration No. 0978824 (registered February 12, 1974) for the mark WASHINGTON
       REDSKINS, in typed drawing form, for “entertainment services—namely, presentations
       of professional football contests,” in Class 41;

    3. Registration No. 0986668 (registered June 18, 1974) for the mark WASHINGTON
       REDSKINS and design, shown below, for “entertainment services—namely,
       presentations of professional football contests,” in Class 41;




    4. Registration No. 0987127 (registered June 25, 1974) for the mark THE REDSKINS and
       design, shown below, for “entertainment services—namely, presentations of professional
       football contests,” in Class 41;




    5. Registration No. 1085092 (registered February 7, 1978) for the mark REDSKINS, in
       typed drawing form, for “entertainment services—namely, presentations of professional
       football contests,” in Class 41; and



                                              5
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 6 of 70 PageID# 6174



    6. Registration No. 1606810 (registered July 17, 1990) for the mark REDSKINETTES, in
       typed drawing form, for “entertainment services, namely, cheerleaders who perform
       dance routines at professional football games and exhibitions and other personal
       appearances,” in Class 41.

        The Redskins Marks have not evaded controversy. See Walker v. Tex. Div., Sons of

 Confederate Veterans, Inc., 135 S. Ct. 2239, 2262 (2015) (Alito, J., dissenting) (describing the

 “Washington Redskins” as a controversial team name). For example, in 1971 and 1972, there

 were a host of newspaper articles detailing opposition to the name “Redskins” by some Native

 Americans. (Docs. 73-12–73-14; 73-29–73-38.) Similarly, in 1972 Leon Cook, President of the

 National Congress of American Indians (“NCAI”), among others, met with Edward Bennett

 Williams, the president of PFI, to explain that the team name was a slur; Williams reported the

 meeting to the NFL Commissioner the following day. (Doc. 71-3 at 5–6; Doc. 73-24 at 12–14;

 Doc. 73-25.) Also, a 1972 official game program referenced the controversy surrounding the

 team’s name. (Doc. 72-5 at 6.)

        The registrability of the Redskins Marks has been litigated for over two decades. In

 1992, Susan Harjo and six other Native Americans filed a petition to cancel the registrations of

 the Redskins Marks under Section 2(a) of the Lanham Act. Seven years later, the TTAB ruled

 that the Redskins Marks “may disparage” Native Americans when registered and ordered that the

 registrations of the marks be cancelled. Harjo v. Pro-Football, Inc., 50 U.S.P.Q.2d 1705, 1999

 WL 375907 (T.T.A.B. 1999). On appeal, the United States District Court for the District of

 Columbia reversed the TTAB, holding that (1) the TTAB’s finding of disparagement was

 unsubstantiated, and (2) the doctrine of laches precluded consideration of the case.

        The case traversed back and forth between the district court and the D.C. Circuit, with the

 final outcome being that D.C. Circuit affirmed the district court’s ruling that laches barred the




                                                  6
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 7 of 70 PageID# 6175



 claim.3 Pro-Football, Inc. v. Harjo, 565 F.3d 880 (D.C. Cir. 2009). The D.C. Circuit never

 addressed the TTAB’s finding of disparagement on the merits.

         On August 11, 2006, while Harjo was pending, Amanda Blackhorse, Marcus Briggs-

 Cloud, Phillip Cover, Jillian Pappan, and Courtney Tsotigh (“Blackhorse Defendants”) filed a

 petition to cancel the same six registrations of the Redskins Marks. The TTAB suspended action

 in the Blackhorse case until the Harjo litigation concluded in 2009. The parties here have agreed

 that the entire Harjo record could be entered into evidence in the case before the TTAB. The

 parties also waived all non-relevance evidentiary objections to that evidence.

         On June 18, 2014, the TTAB scheduled the cancellation of the registrations of the

 Redskins Marks under Section 2(a) of the Lanham Act, 15 U.S.C. § 1052(a), finding that at the

 time of their registrations the marks consisted of matter that both “may disparage” a substantial

 composite of Native Americans and bring them into contempt or disrepute. See Blackhorse v.

 Pro-Football, Inc., 111 U.S.P.Q.2d 1080, 2014 WL 2757516 (T.T.A.B. 2014). This action seeks

 a de novo review, pursuant to 15 U.S.C. § 1071(b), of the TTAB’s decision, based on the TTAB

 Blackhorse record and the additional evidence the parties have submitted to this Court.

         PFI asserts the following seven causes of action. In Count I, PFI seeks a declaration of

 non-disparagement. In Count II, PFI seeks a declaration of non-contempt or disrepute. Count III

 concerns PFI’s claim that Section 2(a) of the Lanham Act, 15 U.S.C. § 1052(a), violates the First

 Amendment. Count IV is PFI’s claim that Section 2(a) of the Lanham Act is void for vagueness.

 Count V is PFI’s claim that the TTAB Order violates the Due Process Clause of the Fifth

 Amendment. In Count VI, PFI claims that the TTAB Order violates the Takings Clause of the

 3
   See Pro-Football, Inc. v. Harjo, 284 F. Supp. 2d 96 (D.D.C. 2003), for the district court case initially
 reversing the TTAB; Pro-Football, Inc. v. Harjo, 415 F.3d 44 (D.C. Cir. 2005), for the D.C. Circuit case
 holding that the district court applied the wrong laches standard to at least one defendant; and Pro-
 Football, Inc. v. Harjo, 567 F. Supp. 2d 46 (D.D.C. 2008), for the district court case holding that laches
 barred the disparagement claim.
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Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 8 of 70 PageID# 6176



 Fifth Amendment. Lastly, Count VII is PFI’s claim that Blackhorse’s petition to cancel the

 registrations of the Redskins Marks was barred by the doctrine of laches.

        PFI and Blackhorse Defendants filed cross-motions for summary judgment on PFI’s

 constitutional claims (Counts III–VI) (Docs. 54 & 105).          The United States of America

 intervened and filed a motion for summary judgment on PFI’s constitutional claims (Doc. 108),

 defending the constitutionality of Section 2(a) of the Lanham Act.          Additionally, PFI and

 Blackhorse Defendants filed cross-motions for summary judgment on PFI’s Lanham Act and

 laches claims (Counts I, II, and VII) (Docs. 69 & 79). Each motion is now before the Court.

                                   STANDARDS OF REVIEW

    A. Summary Judgment

        Under Federal Rule of Civil Procedure 56, the Court must grant summary judgment if the

 moving party demonstrates that there is no genuine issue as to any material fact, and that the

 moving party is entitled to judgment as a matter of law. FED. R. CIV. P. 56(c).

        In reviewing a motion for summary judgment, the Court views the facts in a light most

 favorable to the non-moving party. Boitnott v. Corning, Inc., 669 F.3d 172, 175 (4th Cir. 2012)

 (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)). Once a motion for summary

 judgment is properly made and supported, the opposing party has the burden of showing that a

 genuine issue of material fact for trial exists. Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

 475 U.S. 574, 586–87 (1986); Bouchat v. Balt. Ravens Football Club, Inc., 346 F.3d 514, 522

 (4th Cir. 2003) (citations omitted). “[T]he mere existence of some alleged factual dispute

 between the parties will not defeat an otherwise properly supported motion for summary

 judgment; the requirement is that there be no genuine issue of material fact.”          Emmett v.

 Johnson, 532 F.3d 291, 297 (4th Cir. 2008) (quoting Anderson, 477 U.S. at 247–48).



                                                 8
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 9 of 70 PageID# 6177



        A “material fact” is a fact that might affect the outcome of a party’s case. Anderson, 477

 U.S. at 248; JKC Holding Co. v. Wash. Sports Ventures, Inc., 264 F.3d 459, 465 (4th Cir. 2001).

 Whether a fact is considered to be “material” is determined by the substantive law, and “[o]nly

 disputes over facts that might affect the outcome of the suit under the governing law will

 properly preclude the entry of summary judgment.” Anderson, 477 U.S. at 248; Hooven-Lewis v.

 Caldera, 249 F.3d 259, 265 (4th Cir. 2001).

        A “genuine” issue concerning a “material” fact arises when the evidence is sufficient to

 allow a reasonable jury to return a verdict in the nonmoving party’s favor. Res. Bankshares

 Corp. v. St. Paul Mercury Ins. Co., 407 F.3d 631, 635 (4th Cir. 2005) (quoting Anderson, 477

 U.S. at 248). Rule 56(e) requires the nonmoving party to go beyond the pleadings and by its

 own affidavits, or by the depositions, answers to interrogatories, and admissions on file,

 designate specific facts showing that there is a genuine issue of material fact for trial. Celotex

 Corp. v. Catrett, 477 U.S. 317, 324 (1986).

    B. Review of TTAB Decision

        15 U.S.C. § 1071(b)(1) “permits a party in a trademark suit to initiate a civil action in the

 place of an appeal of the TTAB’s determination to the Federal Circuit.” Swatch AG v. Beehive

 Wholesale, LLC, 739 F.3d 150, 155 (4th Cir. 2014). “In a § 1071(b) action, the district court

 reviews the record de novo and acts as the finder of fact. The district court has authority

 independent of the PTO to grant or cancel registrations and to decide any related matters such as

 infringement and unfair competition claims.” Id. (citing 15 U.S.C. § 1071(b)(1); Durox Co. v.

 Duron Paint Mfg. Co., 320 F.2d 882, 883–84 (4th Cir. 1963)). Where a party to such an action

 exercises its right to supplement the TTAB record, the Court gives no deference to the TTAB’s

 findings. Swatch, 739 F.3d at 156.



                                                  9
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 10 of 70 PageID# 6178



                                            ANALYSIS

        The Court DENIES PFI’s Motion for Summary Judgment on Constitutional Claims and

 GRANTS the cross-motions for summary judgment filed by Blackhorse Defendants and the

 United States of America. With regard to PFI’s First Amendment challenge, the Court DENIES

 PFI’s Motion for Summary Judgment on Constitutional Claims and GRANTS the cross-motions

 for summary judgment filed by Blackhorse Defendants and the United States of America for two

 reasons. First, Section 2(a) of the Lanham Act does not implicate the First Amendment. Second,

 the federal trademark registration program is government speech and is therefore exempt from

 First Amendment scrutiny.

        With regard to PFI’s Fifth Amendment challenge, the Court DENIES PFI’s Motion for

 Summary Judgment on Constitutional Claims and GRANTS the cross-motions for summary

 judgment filed by Blackhorse Defendants and the United States of America for two reasons.

 First, Section 2(a) of the Lanham Act is not void for vagueness because (1) PFI cannot show that

 Section 2(a) is unconstitutional in all of its applications; (2) Section 2(a) gives fair warning of

 what conduct is prohibited; (3) Section 2(a) does not authorize or encourage “arbitrary and

 discriminatory enforcement”; and (4) Section 2(a) is not impermissibly vague as applied to PFI.

 Second, the Takings Clause and Due Process Clause claims fail because a trademark registration

 is not considered property under the Fifth Amendment.

        The Court DENIES PFI’s Cross-Motion for Summary Judgment on Claims I, II, and VII,

 and GRANTS Blackhorse Defendants’ Motion for Summary Judgment on Counts I, II, and VII

 of Complaint. With regard to PFI’s “may disparage” claim, the Court DENIES PFI’s Cross-

 Motion for Summary Judgment on Claims I, II, and VII, and GRANTS Blackhorse Defendants’

 Motion for Summary Judgment on Counts I, II, and VII of Complaint because the (1) dictionary



                                                 10
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 11 of 70 PageID# 6179



 evidence; (2) literary, scholarly, and media references; and (3) statements of individuals and

 groups in the referenced group show that the Redskins Marks consisted of matter that “may

 disparage” a substantial composite of Native Americans during the relevant time period.

        With regard to PFI’s laches claim, the Court DENIES PFI’s Cross-Motion for Summary

 Judgment on Claims I, II, and VII, and GRANTS Blackhorse Defendants’ Motion for Summary

 Judgment on Counts I, II, and VII of Complaint for two reasons. First, the “may disparage”

 claim is not barred by laches because Blackhorse Defendants did not unreasonably delay in

 petitioning the TTAB. Second, laches does not apply because of the public interest at stake.

     A. Trademark Registration vs. Trademarks Themselves

        As a threshold matter, throughout the pleadings the parties conflated the legal principles

 surrounding trademarks with those surrounding trademark registration. Just as Allen Iverson

 once reminded the media that they were wasting time at the end of the Philadelphia 76ers’ season

 “talking about practice” and not an actual professional basketball game,4 the Court is similarly

 compelled to highlight what is at issue in this case—trademark registration, not the trademarks

 themselves. It is the registrations of the Redskins Marks that were scheduled for cancellation by

 the TTAB’s decision, not the trademarks. In fact, the TTAB itself pointed out that it is only

 empowered to cancel the statutory registration of the marks under Section 2(a); it cannot cancel

 the trademarks themselves. See Blackhorse v. Pro-Football, Inc., 111 U.S.P.Q.2d 1080, 2014

 WL 2757516, at *1 (T.T.A.B. 2014) (citation omitted). Thus, regardless of this Court’s ruling,

 PFI can still use the Redskins Marks in commerce.

        It is also important to identify the effect of federal trademark registration. A trademark is

 “any word, name, symbol, or device or any combination thereof used by any person to identify


 4
  See ESPN, Original Allen Iverson Practice Rant, YOUTUBE (May 7, 2012), https://www.youtube.com/
 watch?v= d29VsG35DQM (emphasis in original).
                                                 11
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 12 of 70 PageID# 6180



 and distinguish his or her goods, including a unique product, from those manufactured or sold by

 others and to indicate the source of the goods, even if that source is unknown.” Two Pesos, Inc.

 v. Taco Cabana, Inc., 505 U.S. 763, 768 (1992). Federal law does not create trademarks. See In

 re Trade-Mark Cases, 100 U.S. 82, 92 (1879). Regardless of whether a mark is registered, the

 “right to a particular mark grows out of its use, not its mere adoption . . . .” United Drug Co. v.

 Theodore Rectanus Co., 248 U.S. 90, 97 (1918) (citation omitted); see also Emergency One, Inc.

 v. Am. Fire Eagle Engine Co., 332 F.3d 264, 267 (4th Cir. 2003) (“To acquire ownership of a

 trademark it is not enough to have invented the mark first or even to have registered it first; the

 party claiming ownership must have been the first to actually use the mark in the sale of goods or

 services.” (emphasis added) (citation and internal quotation marks omitted)); 2 J. MCCARTHY,

 TRADEMARKS AND UNFAIR COMPETITION § 16:1 (4th ed. 2014) (same). Thus, use of a mark in

 commerce, by itself, creates a host of common law rights. See Hanover Star Milling Co. v.

 Metcalf, 240 U.S. 403 (1916) (explaining scope of common law trademark rights); Harrods Ltd.

 v. Sixty Internet Domain Names, 302 F.3d 214, 230 (4th Cir. 2002) (“Generally speaking,

 trademark protection is a common law right that arises from the use of a mark to identify the

 source of certain goods or services.” (citation omitted)); see also Spartan Food Sys. v. HFS

 Corp., 813 F.2d 1279, 1282 (4th Cir. 1987); Armand’s Subway, Inc. v. Doctor’s Assocs., 604

 F.2d 849, 849 (4th Cir. 1979). The Lanham Act does, however, contain a cause of action for the

 enforcement of unregistered trademarks. See 15 U.S.C. § 1125(a).

        The owner of a trademark can apply to register it with the PTO under the Lanham Act.

 See 15 U.S.C. § 1051. After reviewing an application, “[if] a trademark examiner believes that

 registration is warranted, the mark is published in the Official Gazette of the PTO” as well as the

 Principal Register. B & B Hardware, Inc. v. Hargis Indus., 135 S. Ct. 1293, 1300 (2015) (citing



                                                 12
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 13 of 70 PageID# 6181



 15 U.S.C. § 1062); see also 15 U.S.C. § 1057. Registration confers several benefits upon the

 owner of a mark in addition to those available at common law:

                 (1) constructive notice of the registrant’s claim of ownership of
                 the trademark; (2) prima facie evidence of the validity of the
                 registration, of the registrant’s ownership of the mark, and of his
                 exclusive right to use the mark in commerce as specified in the
                 certificate; (3) the possibility that, after five years, registration will
                 become [incontestable] and constitute conclusive evidence of the
                 registrant’s right to use the mark; (4) the right to request customs
                 officials to bar the importation of goods bearing infringing
                 trademarks; (5) the right to institute trademark actions in federal
                 courts without regard to diversity of citizenship or the amount in
                 controversy; and (6) treble damage actions against infringing
                 trademarks and other remedies.

 Georator Corp. v. United States, 485 F.2d 283, 285 (4th Cir. 1973) (citing 15 U.S.C. § 1051 et

 seq.), abrogated on other grounds by NCNB Corp. v. United States, 684 F.2d 285 (4th Cir.

 1982). Incontestability and proof of ownership are among the most significant advantages of

 registration. See Brittingham v. Jenkins, 914 F.2d 447, 452 (4th Cir. 1990); see also B & B

 Hardware, 135 S. Ct. at 1300 (“The Lanham Act confers important legal rights and benefits on

 trademark owners who register their marks.” (citation and internal quotation marks omitted)).

        What is at issue here is the registration of the Redskins Marks and the benefits associated

 with registration, not the use of the marks.

    B. Constitutional Challenges

        1. PFI’s First Amendment Challenge Fails

        With regard to PFI’s First Amendment challenge (Count III), the Court DENIES PFI’s

 Motion for Summary Judgment on Constitutional Claims and GRANTS the cross-motions for

 summary judgment filed by Blackhorse Defendants and the United States of America for two

 reasons. First, Section 2(a) of the Lanham Act does not implicate the First Amendment. Second,

 under the Supreme Court’s decision in Walker v. Tex. Div., Sons of Confederate Veterans, Inc.,

 135 S. Ct. 2239 (2015), the Fourth Circuit’s mixed/hybrid speech test, and Rust v. Sullivan, 500
                                                    13
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 14 of 70 PageID# 6182



 U.S. 173 (1991), the federal trademark registration program is government speech and is

 therefore exempt from First Amendment scrutiny.

                a. Cancellation of Trademark Registration Does Not Implicate PFI’s First
                   Amendment Rights

        The Court GRANTS Blackhorse Defendants and the United States’ cross-motions for

 summary judgment on the constitutional claims and DENIES PFI’s Motion for Summary

 Judgment on Constitutional Claims as to PFI’s First Amendment claim (Count III) because

 Section 2(a) of the Lanham Act does not implicate the First Amendment. Section 2(a) provides,

 in pertinent part, that a trademark shall be refused registration if it “consists of or comprises

 immoral, deceptive, or scandalous matter; or matter which may disparage or falsely suggest a

 connection with persons, living or dead, institutions, beliefs, or national symbols, or bring them

 into contempt, or disrepute . . . .” 15 U.S.C. § 1052(a) (emphasis added).

        The Federal Circuit and Fifth Circuit have both held that the PTO’s refusal to register an

 applicant’s mark does not infringe upon the mark owner’s First Amendment rights as “[no]

 conduct is proscribed[] and no tangible form of expression is suppressed.” In re McGinley, 660

 F.2d 481, 484 (C.C.P.A. 1981); see Test Masters Educ. Servs. v. Singh, 428 F.3d 559, 578 n.9

 (5th Cir. 2005); see also In re Fox, 702 F.3d 633, 640 (Fed. Cir. 2012) (affirming refusal to

 register mark under Section 2(a) because it was vulgar); In re Boulevard Ent., Inc., 334 F.3d

 1336, 1343 (Fed. Cir. 2003) (affirming refusal to register marks under Section 2(a) because they

 were immoral or scandalous); Ritchie v. Simpson, 170 F.3d 1092, 1099 (Fed. Cir. 1999) (“denial

 of federal registration of a mark does not prohibit the use of that mark”); In re Mavety Media

 Grp., 33 F.3d 1367, 1374 (Fed. Cir. 1994).

        Nothing about Section 2(a) impedes the ability of members of society to discuss a

 trademark that was not registered by the PTO. Simply put, the Court holds that cancelling the


                                                 14
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 15 of 70 PageID# 6183



 registrations of the Redskins Marks under Section 2(a) of the Lanham Act does not implicate the

 First Amendment as the cancellations do not burden, restrict, or prohibit PFI’s ability to use the

 marks.

          In support of its contention that Section 2(a) of the Lanham Act restricts speech, PFI cited

 a panoply of First Amendment cases in varying degrees of depth. The Court finds that many of

 the cases are distinguishable from the issue presented here as they involved a situation where

 speech was prohibited or burdened. For example, in Clatterbuck v. City of Charlottesville, 708

 F.3d 549 (4th Cir. 2013), the Fourth Circuit held that a city ordinance which prohibited

 individuals from begging for money on Charlottesville’s Downtown Mall was an

 unconstitutional restriction of protected speech. The present case does not concern a statute that

 prohibits or penalizes any speech as Section 2(a) of the Lanham Act does not restrict one’s

 ability to engage in a particular form of speech.

          PFI also cited Sorrell v. IMS Health Inc., 131 S. Ct. 2653 (2011), to argue that Section

 2(a) burdens the speech of trademark holders. At issue in that case was a Vermont statute that

 prohibited, absent the prescriber’s consent, pharmacies from selling prescriber-identifying

 information, pharmacies from disclosing that information for marketing purposes, and

 pharmaceutical manufacturers from using the information for marketing purposes. See id. at

 2359–61. The Supreme Court found the statute was unconstitutional because the restrictions

 were content and speaker-based burdens on protected expression. This case is distinguishable

 from Sorrell for the same reason that is distinguishable from Clatterbuck: Section 2(a) does not

 restrict any protected expression.

          PFI argues that the cancellation of the registrations of the Redskins Marks “affects PFI’s

 message in the ongoing public debate about the Washington Redskins’ team name,” and what



                                                     15
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 16 of 70 PageID# 6184



 PFI has to say in the debate is entitled to special protection under the First Amendment. (Doc.

 56 at 7) (citing Snyder v. Phelps, 131 S. Ct. 1207, 1219 (2011)). Snyder is inapposite. Snyder

 involved a question of whether the First Amendment protected Westboro Baptist Church’s

 (“Westboro”) notorious picketing of soldiers’ funerals. A jury had previously found Westboro

 liable under several state tort law claims for its picketing. The issue was whether the First

 Amendment shielded Westboro from tort liability. The Court held that the First Amendment

 precluded liability, explaining that Westboro’s speech was in a public place on a matter of public

 concern and that the First Amendment prohibited finding Westboro liable for its speech. Here,

 there is no tort suit against PFI finding it liable for its speech. Section 2(a) does not so authorize.

 The only remedy being sought is the cancellation of the registrations of the Redskins Marks. An

 owner’s ability to use the unregistered mark is unaffected.

        PFI further contends that Section 2(a) of the Lanham Act should be closely scrutinized

 because although it may not prohibit speech outright, it may drive ideas from the marketplace.

 (Doc. 57 at 9) (citing Simon & Schuster, Inc. v. Members of N.Y. State Crime Victims Bd., 502

 U.S. 105, 116 (1991)). Simon & Schuster is distinguishable from this case as it involved a New

 York statute that required publishers to pay a fee to the State Crime Victims Board for any

 monies derived from the sales of books where criminals spoke of their conduct.           See Simon &

 Schuster, 502 U.S. at 116. Because statutes that impose a financial burden on a speaker based on

 the content of their speech are unconstitutional, see Leathers v. Medlock, 499 U.S. 439, 447

 (1991), the Supreme Court declared this New York Son of Sam law unconstitutional. The Court

 finds PFI’s unsuccessful attempt to map incongruent First Amendment jurisprudence onto the

 Lanham Act unpersuasive as Section 2(a) imposes no financial penalty on speech—it simply

 cancels a trademark’s registration; the speech itself is uninhibited.



                                                   16
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 17 of 70 PageID# 6185



         Explaining the importance of the First Amendment, the Supreme Court declared:

                 The freedom of speech and of the press guaranteed by the
                 Constitution embraces at the least the liberty to discuss publicly
                 and truthfully all matters of public concern without previous
                 restraint or fear of subsequent punishment . . . . Freedom of
                 discussion, if it would fulfill its historic function in this nation,
                 must embrace all issues about which information is needed or
                 appropriate to enable the members of society to cope with the
                 exigencies of their period.

 Thornhill v. Alabama, 310 U.S. 88, 101 (1940) (emphasis added). In this nation under our

 Constitution, there is a “profound national commitment to the principle that debate on public

 issues should be uninhibited, robust, and wide-open . . . .” N.Y. Times v. Sullivan, 376 U.S. 254,

 270 (1964) (emphasis added) (citations omitted). It is axiomatic that the “constitutional right of

 free expression is . . . intended to remove governmental restraints from the arena of public

 discussion, putting the decision as to what views shall be voiced largely into the hands of each of

 us . . . .” Leathers, 499 U.S. at 448–49 (citation and internal quotation marks omitted). Section

 2(a) does nothing to offend these core constitutional principles.

         Cancelling the registration of a mark under Section 2(a) of the Lanham Act does not

 restrict the public debate on public issues as the mark owner is still able to use the mark in

 commerce.5 Accordingly, the Court agrees with the Federal Circuit and Fifth Circuit and holds

 that Section 2(a) of the Lanham Act does not implicate the First Amendment.




 5
   The United States compared this issue to the common-law right to call one’s self by a name of one’s
 own choosing. (See Doc. 110 at 10–11.) Courts in California and New Mexico have both held that the
 denial of a name change request does not implicate the First Amendment as the petitioner may continue to
 call themselves whatever they please, regardless of whether the name warrants official approval. See
 Petition of Variable for Change of Name v. Nash, 144 N.M. 633, 635 (N.M. Ct. App. 2008); Lee v.
 Superior Court, 9 Cal. App. 4th 510 (Cal. 1992). The United States also cited another state court case, In
 re Bacharach, 344 N.J. Super. 126 (2001), where the court held that courts may reject name change
 requests on the ground that the name may be considered racist. Id. at 132. While certainly not binding,
 the Court finds these cases persuasive.
                                                    17
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 18 of 70 PageID# 6186



                b. The Federal Trademark Registration Program is Government Speech
                   and is Exempt from First Amendment Scrutiny

        The Court GRANTS Blackhorse Defendants and the United States’ cross-motions for

 summary judgment on the constitutional claims and DENIES PFI’s Motion for Summary

 Judgment on Constitutional Claims as to PFI’s First Amendment claim (Count III) because the

 federal trademark registration program is government speech and is thus exempt from First

 Amendment scrutiny.

        As an initial matter, the Court finds that the federal trademark registration program is not

 commercial speech. Commercial speech is defined as “speech that does no more than propose a

 commercial transaction.” Harris v. Quinn, 134 S. Ct. 2618, 2639 (2014) (citations and internal

 quotation marks omitted); see also City of Cincinnati v. Discovery Network, Inc., 507 U.S. 410,

 423 (1993) (noting that the proposal of a commercial transaction is “the test for identifying

 commercial speech” (citation and internal quotation marks omitted)); Briggs & Stratton Corp. v.

 Baldrige, 728 F.2d 915, 917–18 (7th Cir. 1984) (explaining that the “hallmark of commercial

 speech” is that it “pertains to commercial transactions,” including those “facilitated through the

 use of a trademark”). Marks approved through the federal trademark registration program are

 published in the Official Gazette of the PTO and the Principal Register in order to inform the

 public of marks registered with the federal government. The Principal Register does not propose

 a commercial transaction and therefore is not commercial speech.6

        Both Blackhorse Defendants and the United States argue that the federal trademark

 registration program is government speech, while PFI contends that the program is a restriction

 of private speech. The Court holds that the program is government speech for three reasons.

 6
   A trademark, however, is commercial speech. Because trademarks are source-identifiers that “reduce
 the customer’s cost of shopping and making purchasing decisions,” Dastar Corp. v. Twentieth Century
 Film Corp., 539 U.S. 23, 34 (2003), they necessarily pertain to commercial transactions and are thus
 commercial speech under City of Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 423 (1993).
                                                 18
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 19 of 70 PageID# 6187



 The Court finds that the factors articulated in the Supreme Court’s decision in Walker v. Tex.

 Div., Sons of Confederate Veterans, Inc., 135 S. Ct. 2239 (2015), and the Fourth Circuit’s

 mixed/hybrid speech test in Sons of Confederate Veterans, Inc. v. Comm’r of Va. Dep’t of Motor

 Vehicles (SCV), 288 F.3d 610, 616 (4th Cir. 2002), weigh in favor of a finding that the federal

 trademark registration program is government speech. Furthermore, under Rust v. Sullivan, 500

 U.S. 173 (1991), the federal trademark registration program is constitutional because the federal

 government may determine the contents and limits of programs that it creates and manages.

                      i.   Walker Test

        The Court finds that the federal trademark registration program is government speech

 under the Supreme Court’s decision in Walker. Walker involved Texas’ specialty license plate

 program. Groups may propose license plate designs with a slogan, graphic, or both, to the

 Department of Motor Vehicles Board (“the Board”). Walker, 135 S. Ct. at 2243. The Board

 “may refuse to create a new specialty license plate” for many reasons, including “if the design

 might be offensive to any member of the public . . . or for any other reason established by rule.”

 TEX. TRANSP. CODE ANN. § 504.801(c). If approved, the license plate design becomes available

 for Texans to select and place on their vehicles. See Walker, 135 S. Ct. at 2243.

        In 2009, the Sons of Confederate Veterans, Texas Division (“S.C.V. Texas”), applied to

 sponsor a specialty plate with a design that included a picture of the Confederate flag. Id. at

 2245. The Board rejected the design because many members of the general public found the

 Confederate flag portion of the design to be offensive. Id. In 2012, S.C.V. Texas filed a federal

 lawsuit against the Board, claiming that its decision violated the First Amendment’s Free Speech

 Clause. The district court entered judgment for the Board, while a Fifth Circuit panel held that




                                                 19
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 20 of 70 PageID# 6188



 license plate designs are private speech and by rejecting S.C.V. Texas’ design, the Board

 engaged in constitutionally forbidden viewpoint discrimination. See id.

         The Supreme Court reversed the Fifth Circuit and held that Texas’ specialty license plate

 program is government speech. The Court found that the program was government speech for

 three reasons. First, history shows that “insofar as license plates have conveyed more than state

 names and vehicle identification numbers, they long have communicated messages from the

 States.” Id. at 2248 (citation omitted). Second, the public closely associates official state license

 plate designs with the state. Id. The Court further explained that Texas license plates “are[]

 essentially government IDs” and issuers of IDs “’typically do not permit’ the placement on their

 IDs of ‘messages with which they do not wish to be associated.’” Id. at 2249 (quoting Pleasant

 Grove City, Utah v. Summum, 555 U.S. 460, 471 (2009)). Third, Texas maintains “direct

 control” over the message conveyed on the plates as the Board must approve every specialty

 plate design. The Board has “actively exercised this authority” by rejecting designs. Walker,

 135 S. Ct. at 2249. “This final approval authority allows Texas to choose how to present itself

 and its constituency.” Id.

         Here, the federal trademark program is government speech under the Supreme Court’s

 analysis in Walker. The first Walker factor weighs in favor of government speech as registry

 with the federal trademark registration program communicates the message that the federal

 government has approved the trademark. See 15 U.S.C. §§ 1072, 1127. The second Walker

 factor weighs in favor of government speech because the public closely associates federal

 trademark registration with the federal government as the insignia for federal trademark

 registration, ®,7 is a manifestation of the federal government’s recognition of the mark.


 7
   The owner of a federally registered trademark is not required to display the ® symbol with the
 trademark. See 15 U.S.C. § 1111.
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Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 21 of 70 PageID# 6189



         Finally, the third Walker factor weighs in favor of government speech because the federal

 government exercises editorial control over the federal trademark registration program. Section

 2 of the Lanham Act empowers the PTO to deny or cancel a mark’s registration, and thus control

 what appears on the Principal Register, on a number of grounds, including any mark that:

                 (b) Consists of or comprises the flag or coat of arms or other
                 insignia of the United States, or of any State or municipality, or of
                 any foreign nation, or any simulation thereof;

                 (c) Consists of or comprises a name, portrait, or signature
                 identifying a particular living individual except by his written
                 consent, or the name, signature, or portrait of a deceased President
                 of the United States . . .;

                 (d) Consists of or comprises a mark which so resembles a mark
                 registered in the Patent and Trademark Office, or a mark or trade
                 name previously used in the United States by another and not
                 abandoned, as to be likely . . . to cause confusion . . . ;

                 (e) Consists of a mark which (1) when used on or in connection
                 with the goods of the applicant is merely descriptive or deceptively
                 misdescriptive of them, (2) when used on or in connection with the
                 goods of the applicant is primarily geographically descriptive . . . .
                 (4) is primarily merely a surname, or (5) comprises any matter that,
                 as a whole, is functional.

 15 U.S.C. § 1052(b)–(e).8 Parties constantly litigate whether the TTAB properly exercised its

 discretion in cancelling or denying a mark’s registration under § 1052. See, e.g., Princeton

 Vanguard, LLC v. Frito-Lay N. Am., Inc., 786 F.3d 960 (Fed. Cir. 2015); In re Trivita, Inc., 783

 F.3d 872 (Fed. Cir. 2015); In re Geller, 751 F.3d 1355 (Fed. Cir. 2014).

         Sitting en banc, the Fifth Circuit held that, “[T]he First Amendment does not prohibit the

 government, itself, from speaking, nor require the government to speak. Similarly, the First

 Amendment does not preclude the government from exercising editorial discretion over its own


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   Section 2(a) allows the PTO to cancel the registration of a mark that, among other things, “[c]onsists of
 or comprises immoral, deceptive, or scandalous matter; or matter which may disparage or falsely suggest
 a connection with persons, living or dead, institutions, beliefs, or national symbols, or bring them into
 contempt, or disrepute . . . .” Because the constitutionality of Section 2(a) is at issue, it was omitted from
 the Court’s analysis.
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Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 22 of 70 PageID# 6190



 medium of expression.” Muir v. Ala. Educ. Television Comm’n, 688 F.2d 1033, 1044 (5th Cir.

 1982) (citations omitted). By approving or denying registrations under Section 2(a) of the

 Lanham Act, the government is merely exercising editorial discretion over what is published in

 the Official Gazette of the PTO and in the Principal Register. Accordingly, the Court finds that

 the third Walker factor weighs in favor of finding that the federal trademark registration program

 is government speech.

        Because all three Walker factors weigh in favor of government speech, the Court finds

 that the federal trademark registration program is government speech.

                     ii.    Fourth Circuit’s Mixed/Hybrid Speech Test

        The federal trademark registration program also qualifies as government speech under the

 Fourth Circuit’s mixed/hybrid speech test. In SCV, 288 F.3d 610 (4th Cir. 2002), the Fourth

 Circuit identified four instructive factors courts should look to in determining whether speech is

 that of the government:

        (1) “the central purpose of the program in which the speech in question occurs”;

        (2) “the degree of editorial control exercised by the government or private entities over

        the content of the speech”;

        (3) “the identity of the literal speaker”; and

        (4) “whether the government or the private entity bears the ultimate responsibility for the

        content of the speech[.]”

 SCV, 288 F.3d at 618 (citations and internal quotation marks omitted).

        The Court finds that the first factor, the central purpose of the program in which the

 speech in question occurs, weighs in favor of finding that the speech at issue here is government




                                                  22
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 23 of 70 PageID# 6191



 speech. The government has long played a role in protecting trademarks.9 See B & B Hardware,

 Inc. v. Hargis Indus., 135 S. Ct. 1293, 1299 (2015). In 1946, Congress created the Lanham Act

 in order to protect trademarks used in interstate and foreign commerce. See Park ‘N Fly, Inc. v.

 Dollar Park & Fly, Inc., 469 U.S. 189, 193 (1985) (citation omitted). The Lanham Act’s federal

 trademark registration program was created to help protect marks. See B & B Hardware, 135 S.

 Ct. at 1299–1300.

         The Fourth Circuit’s analysis of the “central purpose” factor in ACLU v. Tata, 742 F.3d

 563 (4th Cir. 2014), vacated, Berger v. ACLU of N.C., No. 14-35, 2015 WL 2473457 (U.S. June

 29, 2015), is particularly instructive. Tata concerned a question of whether North Carolina’s

 specialty license plate program, including a “Choose Life” license plate, was government or

 private speech. The court found that because the central purpose of the program was “to allow

 North Carolina drivers to express their affinity for various special interests,” the purpose of the

 program weighed in favor of finding the speech at issue private. Id. at 572–73 (emphasis added);

 see also SCV, 288 F.3d at 619–20 (reasoning that the Virginia specialty plate program was in-

 part private speech because it allowed for “the private expression of various views” (emphasis

 9
  Describing the government’s role in administering the federal trademark registration program, the Court
 of Customs and Patent Appeals explained:

                 Once a registration is granted, the responsibilities of the government with
                 respect to a mark are not ended. The benefits of registration, in part with
                 government assistance, include public notice of the mark in an official
                 government publication and in official records which are distributed
                 throughout the world, maintenance of permanent public records
                 concerning the mark, availability of the Customs Service for blocking
                 importation of infringing goods, access to federal courts where there is a
                 presumption of validity of the registration (e.g., that the mark is not
                 immoral or scandalous), notices to the registrant concerning maintenance
                 of the registration, and, to some extent, direct government protection of
                 the mark in that the PTO searches its records and refuses registrations to
                 others of conflicting marks. Apart from nominal fees, these costs are
                 underwritten by public funds.

 In re McGinley, 660 F.2d 481, 486 (C.C.P.A. 1981).
                                                     23
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 24 of 70 PageID# 6192



 added)); cf. Planned Parenthood of S.C. Inc. v. Rose, 361 F.3d 786, 789–93 (4th Cir. 2004)

 (finding that the central purpose of South Carolina’s “Choose Life” license plate program was to

 “promote [South Carolina’s] preference for the pro-life position,” rendering it government

 speech).

         Here, the purpose of the program is not for the expression of private views or interests.

 Such expression would lay in the creation of the mark itself, which is done by the owner by

 using the mark in commerce. Instead, the purpose of the federal trademark registration program

 is to provide federal protection to trademarks, in part achieved by providing notice to the public

 of what trademarks are registered through the Principal Register. See 15 U.S.C. §§ 1072, 1127.

 When the symbol for a federally registered trademark, ®, is affixed to a mark, it is a declaration

 by the federal government that it has approved that mark. Accordingly, the Court finds that the

 purpose of the program weighs towards it being considered government speech.

         The Eighth Circuit’s decision in Knights of the KKK v. Curators of the Univ. of Mo., 203

 F.3d 1085 (8th Cir. 2000), supports this conclusion. That case involved an effort by the KKK to

 be recognized during the local National Public Radio (“NPR”) station’s underwriting

 acknowledgements. In finding that the underwriting acknowledgements are government speech,

 the court held that the acknowledgments are the station “speaking” by “airing its

 acknowledgments of funds received from certain parties to pay for specific” broadcasts. Id. at

 1093.      Just as the NPR station spoke by airing its acknowledgements, here the federal

 government speaks by declaring what trademarks it deems registrable.

         The Court finds that the second factor, the degree of editorial control exercised by the

 government or private entities over the content of the speech, also weighs in favor of government

 speech. SCV is instructive here. In SCV, the Fourth Circuit found that Virginia did not assert



                                                24
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 25 of 70 PageID# 6193



 editorial control over the content of specialty plates because the Commissioner of the Virginia

 Department of Motor Vehicles rarely exercised his statutory discretion to reject a given plate

 design. 288 F.3d at 620–21. Also, courts have found that companies did not exercise editorial

 control over a sign erected by a city that thanked them, individually by name, for their

 sponsorship; the court instead found that editorial control was asserted by the city because the

 city decided which companies to place on the sign. See Wells v. City & Cnty. of Denver, 257

 F.3d 1132, 1142 (10th Cir. 2001).

        As explained above in the editorial control analysis under Walker, the PTO regularly

 rejects applications for registration on grounds enumerated in Section 2 of the Lanham Act.

 Accordingly, the Court finds that the second SCV factor weighs in favor of government speech.

        The Court finds that the third factor, the identity of the literal speaker, weighs in favor of

 government speech. The Official Gazette of the PTO and the Principal Register are published by

 the PTO. Because the government is the literal speaker, this factor weighs in favor of finding the

 federal trademark registration program to be government speech.

        The Court finds that the fourth factor, whether the government or the private entity bears

 the ultimate responsibility for the content of the speech, weighs in favor of private speech. When

 a trademark’s federal registration is challenged, it is the mark owner, not the government, who

 must defend it. Moreover, in deciding this factor courts have considered whether the private

 entity had to apply or pay to avail itself to the benefits of a program. See, e.g., ACLU v. Tata,

 742 F.3d 563, 574 (4th Cir. 2014), vacated, Berger v. ACLU of N.C., No. 14-35, 2015 WL

 2473457 (U.S. June 29, 2015); Planned Parenthood of S.C. Inc. v. Rose, 361 F.3d 786, 793–94

 (4th Cir. 2004); cf. Wells, 257 F.3d at 1142 (finding that the fourth factor weighed in favor of a




                                                 25
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 26 of 70 PageID# 6194



 sign being government speech because the city paid for security guards and video cameras to

 guard the display).

        Here, the mark owners file an application for registration with the PTO. 15 U.S.C. §

 1051. An application to register a mark must include, among other things, “the date of the

 applicant’s first use of the mark, the date of the applicant’s first use of the mark in commerce, the

 goods in connection with which the mark is used, and a drawing of the mark.” § 1051(a)(2). If a

 party petitions to cancel the registration of a mark, it is the mark owner who must defend it in the

 subsequent litigation. See Wells, 257 F.3d at 1142 (“As to the final . . . factor, this litigation is

 itself an indication that the City bears the ultimate responsibility for the content of the display.”).

        Because the mark owners apply to avail themselves of the benefits of the federal

 trademark program and defend the registration of their marks in any subsequent litigation, the

 Court finds that the fourth factor weighs in favor of finding private speech.

        Applying SCV’s instructive factors, the Court concludes that because three of the four

 factors weigh in favor of finding government speech, the federal trademark registration program

 is government speech. Cf. ACLU v. Tata, 742 F.3d 563, 574 (4th Cir. 2014) (concluding that

 speech was private after finding that three of the four SCV factors weighed in favor of finding the

 speech at issue to be private speech).

                       iii.   Government May Determine Contents and Limits of Its Programs

        The Court holds that the federal trademark registration program is constitutional because

 under Rust v. Sullivan, 500 U.S. 173 (1991), the government may determine the contents and

 limits of its programs. In Rust, the Supreme Court considered whether regulations restricting the

 use of funds by grantees under Title X of the Public Health Act, 42 U.S.C. §§ 300–300a-6

 violated the First Amendment. Id. The regulations prohibited doctors from engaging in abortion

 counseling, referral, and activities advocating abortion as a means of family planning in Title X
                                                   26
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 27 of 70 PageID# 6195



 projects. See 42 U.S.C. § 300a-6. They were free to perform abortions and engage in abortion

 advocacy through programs that were independent from their Title X projects. 42 C.F.R. § 59.9

 (1989).

           After considering a viewpoint discrimination challenge to the regulations, the Court

 upheld them because they were “designed to ensure that the limits of the federal program are

 observed.”10     Rust, 500 U.S. at 193.         The Court explained that “when the Government

 appropriates public funds to establish a program it is entitled to define the limits of that

 program.” Id. at 194. The Government can “selectively fund a program to encourage certain

 activities it believes to be in the public interest, without at the same time funding an alternative

 program” without violating the Constitution.              Id. at 193 (emphasis added).        Moreover, a

 “legislature’s decision not to subsidize the exercise of a fundamental right does not infringe the

 right.” Id. (quoting Regan v. Taxation with Representation of Wash., 461 U.S. 540, 549 (1983)

 (internal quotation marks omitted)). “A refusal to fund protected activity, without more, cannot

 be equated with the imposition of a ‘penalty’ on that activity.” Rust, 500 U.S. at 193 (quoting

 Harris v. McRae, 448 U.S. 297, 317 n.19 (1980) (internal quotation marks omitted)).

           According to the Fourth Circuit, “Rust stands for the principle that when the government

 creates and manages its own program, it may determine the contents and limits of that program”

 without violating the First Amendment. Planned Parenthood of S.C. Inc. v. Rose, 361 F.3d 786,

 796 (4th Cir. 2004) (“There is no First Amendment problem, for example, when a public school

 makes content-based decisions about its curriculum [] or when a public museum decides to

 display one work of art as opposed to another[.]” (citations omitted)). This is so because when


 10
    “In Rust the Court ‘did not place explicit reliance on the rationale that the counseling activities of the
 doctors . . . amounted to government speech; when interpreting the holding in later cases, however, [it] . .
 . explained Rust on this understanding.’” Planned Parenthood of S.C. Inc. v. Rose, 361 F.3d 786, 796
 (4th Cir. 2004) (quoting Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 541 (2001)).
                                                      27
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 28 of 70 PageID# 6196



 the government speaks to promote its own policies or advocate for a particular idea, it is

 ultimately the electorate who holds the government accountable. See Bd. of Regents of Univ. of

 Wis. Sys. v. Southworth, 529 U.S. 217, 235 (2000).

            The Supreme Court’s decision in Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l,

 Inc. (Open Society), 133 S. Ct. 2321 (2013), also provides this Court with guidance. Open

 Society involved a federal grant program to help fund the fight against HIV/AIDS. Distribution

 of grant funds was contingent upon applicants adopting a “policy explicitly opposing prostitution

 and sex trafficking.” Id. at 2324. In holding that requirement unconstitutional under the First

 Amendment, the Court stated that the mandate required the grantee to “pledge allegiance to the

 Government’s policy of eradicating prostitution,” even during times when grant funds were not

 being used. Id. at 2332. Because the requirement affected “protected conduct outside the scope

 of the federally funded program,” Rust, 500 U.S. at 197, it was ruled unconstitutional.

            Here, the federal trademark registration program’s requirement that a mark cannot

 receive federal trademark protection if it “may disparage” is well within the constitutional

 boundaries set forth in Rust and reaffirmed in Open Society.                   PFI’s suggestion that this

 requirement is beyond the scope of the program demonstrates a fundamental misunderstanding

 of the Supreme Court’s decision in Rust and the Fourth Circuit’s opinion in Planned Parenthood:

 when the government creates and manages its own program, it may determine the contents and

 limits of that program.11 Congress has decided that marks that “may disparage” shall not receive

 the benefits of federal registration. It is well within its power to do so. Affirming the denial of

 federal registration of a mark under Section 2(a), the United States Court of Customs and Patent

 Appeals, the Federal Circuit’s predecessor, stated:



 11
      See supra n.9 (describing the responsibilities of the government in the trademark registration program).
                                                       28
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 29 of 70 PageID# 6197



                In providing that marks comprising scandalous matter not be
                registered, Congress expressed its will that such marks not be
                afforded the statutory benefits of registration. We do not see this as
                an attempt to legislate morality, but, rather, a judgment by the
                Congress that such marks not occupy the time, services, and use of
                funds of the federal government.

 In re McGinley, 660 F.2d 481, 486 (C.C.P.A. 1981) (emphasis added); see also In re Fox, 702

 F.3d 633, 640 (Fed. Cir. 2012) (observing that the denial of registration means that the applicant

 will not be able to “to call upon the resources of the federal government in order to enforce that

 mark”).

        Similar to how the doctors in Rust could engage in abortion related-activities through

 programs independent of their Title X projects, mark owners are free to use marks that “may

 disparage” outside of the federal trademark registration program. Participation in the program is

 not compulsory. As stated earlier, the right to trademark protection arises in common law and is

 not a creature of the federal government. See Harrods Ltd. v. Sixty Internet Domain Names, 302

 F.3d 214, 230 (4th Cir. 2002).    Accordingly, the Court holds that it is within the discretion of

 the federal government to deny registration to marks that “may disparage.”

        In conclusion, the Court holds that the federal trademark registration program is

 government speech under the government speech tests set forth by the Supreme Court in Walker

 and the Fourth Circuit in SCV, and the Supreme Court’s decision in Rust. The Free Speech

 clause does not regulate government speech, see Pleasant Grove City, Utah v. Summum, 555

 U.S. 460, 467 (2009), and government speech is exempt from First Amendment scrutiny. See

 Johanns v. Livestock Mktg. Assn., 544 U.S. 550, 553 (2005). Because the federal trademark

 registration program is government speech, it is exempt from First Amendment scrutiny.

 Accordingly, the Court holds that as to PFI’s First Amendment claim (Count III), PFI’s Motion

 for Summary Judgment on Constitutional Claims must be DENIED and Blackhorse Defendants


                                                 29
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 30 of 70 PageID# 6198



 and the United States’ cross-motions for summary judgment on the constitutional claims must be

 GRANTED.

        2. PFI’s Fifth Amendment Challenge Fails

        With regard to PFI’s Fifth Amendment challenge, the Court DENIES PFI’s Motion for

 Summary Judgment on Constitutional Claims and GRANTS the cross-motions for summary

 judgment on the constitutional claims filed by Blackhorse Defendants and the United States of

 America for two reasons. First, Section 2(a) of the Lanham Act is not void for vagueness

 because (1) PFI cannot show that Section 2(a) is unconstitutional in all of its applications; (2)

 Section 2(a) gives fair warning of what conduct is prohibited; (3) Section 2(a) does not authorize

 or encourage “arbitrary and discriminatory enforcement”; and (4) Section 2(a) is not

 impermissibly vague as applied to PFI. Second, the Takings Clause and Due Process Clause

 claims fail because a trademark registration is not considered property under the Fifth

 Amendment.

                a. Section 2(a) of the Lanham Act is Not Void for Vagueness

        The Court holds that Section 2(a) of the Lanham Act is not void for vagueness. PFI

 asserts both a “facial” and an “as-applied” constitutional challenge to Section 2(a) on the basis

 that it is vague. A statute is void for vagueness under the Fifth Amendment’s Due Process

 Clause when it “fails to provide a person of ordinary intelligence fair notice of what is

 prohibited, or is so standardless that it authorizes or encourages seriously discriminatory

 enforcement.” United States v. Williams, 553 U.S. 285, 304 (2008). The void-for-vagueness

 doctrine ensures that statutes and regulations give a “person of ordinary intelligence a reasonable

 opportunity to know what is prohibited, so that he may act accordingly.” Grayned v. City of

 Rockford, 408 U.S. 104, 108–09 (1972); see also Hill v. Colorado, 530 U.S. 703, 732 (2000).



                                                 30
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 31 of 70 PageID# 6199



        “The degree of vagueness that the Constitution tolerates—as well as the relative

 importance of fair notice and fair enforcement—depends in part on the nature of the enactment.”

 Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498 (1982).

 Economic regulation is “subject to a less strict vagueness test.” Id. Moreover, “[t]he Court has

 also expressed greater tolerance of enactments with civil, rather than criminal, penalties because

 the consequences of imprecision are qualitatively less severe.”         Id. at 498–99; see Nat’l

 Endowment for the Arts v. Finley, 524 U.S. 569, 589 (1998) (noting that criminal statutes are

 subject to more stringent void-for-vagueness reviews); Ridley v. Mass. Bay Transp. Auth., 390

 F.3d 65, 95–96 (1st Cir. 2004) (citations omitted) (“vagueness concerns are more pressing when

 there are sanctions (such as expulsion) attached to violations of a challenged regulation”).

        In this case, Section 2(a) of the Lanham Act does not prohibit speech, nor does it impose

 civil or criminal penalties. Accordingly, the Court now applies a relaxed vagueness review

 standard. See Finley, 524 U.S. at 589.

                      i.   Facial Void-for-Vagueness Challenge

        The Court holds that PFI’s facial void for vagueness challenge fails because PFI cannot

 show that Section 2(a) is unconstitutional in all of its applications. Under United States v.

 Salerno, 481 U.S. 739 (1987), a plaintiff can only succeed in a facial challenge by “establish[ing]

 that no set of circumstances exists under which the [statute] would be valid.” Id. at 745; see also

 Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 449 (2008). Because PFI

 cannot possibly demonstrate that every conceivable set of words, symbols, or combination

 thereof would be invalid under Section 2(a), PFI’s facial void-for-vagueness challenge must fail.




                                                 31
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 32 of 70 PageID# 6200



                     ii.   Fair Warning

        The Court holds that Section 2(a) gives “people of ordinary intelligence a reasonable

 opportunity to understand what conduct it prohibits.” Hill v. Colorado, 530 U.S. 703, 732

 (2000). The Constitution does not require “perfect clarity and precise guidance.” Ward v. Rock

 Against Racism, 491 U.S. 781, 794 (1989). Courts will look to dictionary definitions to help

 determine whether a statute is impermissibly vague. See Wag More Dogs, LLC v. Cozart, 680

 F.3d 359, 371 (4th Cir. 2012).

        Section 2(a) states that a mark “shall be refused registration on the principal register” if it

 “consists of or comprises . . . matter which may disparage . . . persons.” 15 U.S.C. § 1052(a).

 The Court holds that this language gives fair warning as to what it governs. Not only do the

 parties agree that at the time the Lanham Act was enacted, multiple dictionaries contained

 “materially identical definitions of ‘disparage,’” (Doc. 56 at 19 n.14), but the Supreme Court has

 used the term in its Establishment Clause jurisprudence.          Setting forth the test under the

 Establishment Clause to determine the scope of prayer permitted to commence a legislative

 session, the Court held, “The content of the prayer is not of concern to judges where, as here,

 there is no indication that the prayer opportunity has been exploited to proselytize or advance

 any one, or to disparage any other, faith or belief.” Marsh v. Chambers, 463 U.S. 783, 794–95

 (1983) (emphasis added); see also Town of Greece v. Galloway, 134 S. Ct. 1811, 1823–24

 (2014) (applying Marsh disparagement test). If the Supreme Court found “disparage” to be an

 appropriate term to use in a test for the Establishment Clause as recently as last year, the Court

 declines PFI’s invitation to now find the term vague in the context of trademark registration.




                                                  32
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 33 of 70 PageID# 6201



                     iii.   Arbitrary and Discriminatory Enforcement

        The Court holds that the Lanham Act does not authorize or encourage “arbitrary and

 discriminatory enforcement” of Section 2(a). A statute authorizes or encourages arbitrary and

 discriminatory enforcement when there are minimal guidelines that indicate what the law applies

 to. See Kolender v. Lawson, 461 U.S. 352, 358 (1983) (citation and internal quotation marks

 omitted); Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). Contrary to PFI’s contention,

 the Court finds that the PTO sets forth sufficient guidelines that identify which matters “may

 disparage” under Section 2(a). Among other things, the PTO publishes the letters of Examining

 Attorneys’ decisions to approve or deny registration on its website. The PTO has also published

 instructions for Examining Attorneys in its Trademark Manual of Examining Procedure

 (“T.M.E.P.”). (See Doc. 106 at 23.) T.M.E.P. § 1203(b) addresses the “may disparage” portion

 of Section 2(a). Furthermore, the PTO has published a definition of its test for disparagement in

 a precedential decision.12 See Harjo v. Pro-Football, Inc., 50 U.S.P.Q.2d 1705, 1999 WL

 375907, at *35 (T.T.A.B. 1999).

        The Court finds that these guidelines are sufficient to identify which matters “may

 disparage” under Section 2(a) and thus do not authorize or encourage arbitrary and

 discriminatory enforcement.

                     iv.    Vagueness as-applied to PFI

        The Court holds that Section 2(a) is not impermissibly vague as applied to PFI because

 PFI had reason to know that its marks “may disparage” when they were initially registered. PFI

 argues that “[w]ith only the vague text of Section 2(a) to guide it, PFI could not have reasonably

 understood that the Redskins Marks would fall within the purview of Section 2(a).” (Doc. 56 at

 12
   A trademark consists of matter that “may disparage” if the matter might “dishonor by comparison with
 what is inferior, slight, deprecate, degrade, or affect or injure by unjust comparison.” Harjo v. Pro-
 Football, Inc., 50 U.S.P.Q.2d 1705, 1999 WL 375907, at *35 (T.T.A.B. 1999).
                                                  33
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 34 of 70 PageID# 6202



 22.) However, when it applied to register the Redskins Marks, PFI was fully on notice that its

 marks contained matter that “may disparage.” Several dictionaries before and during the time

 PFI obtained its registrations stated that “redskin” is an offensive term. (Doc. 56 at 2, ¶ 1.) In

 fact, PFI’s expert linguist, David Barnhart, stated that in 1967, 1975, and 1985 the term

 “redskin” “certainly might be offensive.” (Id. ¶ 5.)

        Further, the PTO has shown no inconsistency regarding “redskins” as a term that “may

 disparage.” Since 1992, Examining Attorneys have refused at least twelve applications because

 “redskins” “may disparage.” See Thompson Decl. Exs. 1–12. Seven of the refusals involved

 PFI applications for registration. See id. Exs. 1–7.

        Because PFI has known since 1967, based at least on contemporary dictionary

 definitions, that its marks using the term “redskin” “may disparage” and because it has failed to

 show a pattern of inconsistency at the PTO, the Court holds that Section 2(a) is not

 impermissibly vague as-applied to PFI.

        In sum, the Court holds that Section 2(a) of the Lanham Act is not void for vagueness for

 four reasons.   First, because PFI has not supported a facial void-for-vagueness challenge.

 Second, because Section 2(a) gives fair warning to the conduct under its purview. Third,

 because the PTO’s guidelines concerning what “may disparage” neither encourage nor authorize

 arbitrary and discriminatory enforcement. Fourth, because PFI has not supported an as-applied

 vagueness challenge.

        Accordingly, regarding PFI’s claim that Section 2(a) of the Lanham Act is void for

 vagueness (Count IV), the Court DENIES PFI’s Motion for Summary Judgment on

 Constitutional Claims and GRANTS the cross-motions for summary judgment on the

 constitutional claims filed by Blackhorse Defendants and the United States of America.



                                                 34
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 35 of 70 PageID# 6203



                b. PFI’s Takings Clause and Due Process Clause Claims Fail

         The Court holds that PFI’s Takings Clause and Due Process Clause claims fail because

 PFI has no property interest in the registration of its marks. “The Takings Clause prohibits the

 taking of private property for public use, without just compensation.” Cherry v. Mayor of

 Baltimore City, 762 F.3d 366, 374 (4th Cir. 2014) (citing U.S. CONST. AMENDS. V, XIV). The

 Fifth Amendment’s Due Process Clause guarantees that “[n]o person shall . . . be deprived of

 life, liberty, or property, without due process of law . . . .” U.S. CONST. AMEND. V.

         In In re Int’l Flavors & Fragrances Inc., 183 F.3d 1361, 1366 (Fed. Cir. 1999), the

 Federal Circuit held that a trademark registration (as opposed to the underlying trademark) does

 not constitute a property interest under the Fifth Amendment.13 Because PFI has no property

 interest in the registration of its marks as the Redskins Marks’ registrations are not property

 under the Fifth Amendment, PFI’s Takings Clause and Due Process Clause claims must fail.

 Accordingly, as to PFI’s Takings Clause (Count VI) and Due Process Clause (Count VII) claims,

 the Court DENIES PFI’s Motion for Summary Judgment on Constitutional Claims and

 GRANTS the cross-motions for summary judgment filed by Blackhorse Defendants and the

 United States of America.

      C. Lanham Act Challenges

         With regard to PFI’s “may disparage” claim (Count I), the Court DENIES PFI’s Cross-

 Motion for Summary Judgment on Claims I, II, and VII, and GRANTS Blackhorse Defendants’

 Motion for Summary Judgment on Counts I, II, and VII of Complaint because the (1) dictionary

 evidence, (2) literary, scholarly, and media references, and (3) statements of individuals and

 groups in the referenced group show that the Redskins Marks consisted of matter that “may


 13
   As has been repeated several times, mark owners retain ownership of their trademarks even once the
 registration has been cancelled. See Lingle v. Chevron U.S.A. Inc., 544 U.S. 528, 537 (2005).
                                                   35
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 36 of 70 PageID# 6204



 disparage” a substantial composite of Native Americans during the relevant time period (1967,

 1974, 1978, and 1990).

        Section 2(a) of the Lanham Act, 15 U.S.C. § 1052(a), provides that registration should be

 denied to any mark that “[c]onsists of or comprises immoral, deceptive, or scandalous matter; or

 matter which may disparage or falsely suggest a connection with persons, living or dead,

 institutions, beliefs, or national symbols, or bring them into contempt or disrepute . . . .”   Id.

 The TTAB has established a two-part test to determine whether a mark contains matter that “may

 disparage.” The parties agree that the test in this case is as follows:

        1.      What is the meaning of the matter in question, as it appears in the
                marks and as those marks are used in connection with the goods
                and services identified in the registrations?
        2.      Is the meaning of the marks one that may disparage Native
                Americans?

 See Blackhorse v. Pro-Football, Inc., 111 U.S.P.Q.2d 1080, 2014 WL 2757516, at *4 (T.T.A.B.

 2014) (citations omitted); see also In re Geller, 751 F.3d 1355, 1358 (Fed. Cir. 2014). This

 inquiry focuses on the registration dates of the marks at issue. Blackhorse, 2014 WL 2757516, at

 *4 (citations omitted). Here, the registration dates are 1967, 1974, 1978, and 1990.

        When answering the second question, whether the term “redskins” “may disparage”

 Native Americans, courts should look to the views of Native Americans, not those of the general

 public. Id. Moreover, Blackhorse Defendants are only required to show that the marks “may

 disparage” a “substantial composite” of Native Americans.           See Geller, 751 F.3d at 1358

 (citations omitted). A substantial composite is not necessarily a majority. See In re Boulevard

 Ent., Inc., 334 F.3d 1336, 1340 (Fed. Cir. 2003) (citing In re McGinley, 660 F.2d 481, 485

 (C.C.P.A. 1981)); In re Mavety Media Grp., 33 F.3d 1367, 1370 (Fed. Cir. 1994) (citation

 omitted).


                                                   36
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 37 of 70 PageID# 6205



         Courts consider dictionary evidence when determining whether a term “may disparage” a

 substantial composite of the referenced group. In In re Boulevard, the Federal Circuit held that

 when a mark has only “one pertinent meaning[,] a standard dictionary definition and an

 accompanying editorial designation alone sufficiently demonstrate[] that a substantial composite

 of the general public” considers a term scandalous. 334 F.3d 1336, 1340–41 (Fed. Cir. 2003)

 (emphasis added) (citing 15 U.S.C. § 1052(a)) (finding that a mark had one “pertinent meaning”

 when all of the dictionaries consulted contained usage labels characterizing a term as “vulgar”).

         Courts can use usage labels to decide whether a term “may disparage” a specific

 referenced group, as opposed to the general public in Section 2(a) “scandalous” actions, because

 usage labels denote when words are disparaging or offensive to the group referenced in the

 underlying term. See, e.g., Symbols and Labels Used in Oxford Learner’s Dictionaries, OXFORD

 LEARNER’S         DICTIONARIES,   http://www.oxfordlearnersdictionaries.com/us/about/labels   (last

 visited July 6, 2015) (“offensive expressions are used by some people to address or refer to

 people in a way that is very insulting, especially in connection with their race, religion, sex or

 disabilities”).

         Thus, using a dictionary’s usage labels to determine whether a term “may disparage” a

 substantial composite of Native Americans during the relevant time period is consistent with the

 Federal Circuit’s holding in Boulevard. See In re Fox, 702 F.3d 633, 635 (Fed. Cir. 2012) (“But

 where it is clear from dictionary evidence that the mark as used by the applicant in connection

 with the products described in the application invokes a vulgar meaning to a substantial

 composite of the general public, the mark is unregistrable.” (citation and internal quotation

 marks omitted)); In re Heeb Media, LLC, 89 U.S.P.Q.2d 1071, 2008 WL 5065114, at *5

 (T.T.A.B. 2008) (“It has been held that, at least as to offensive matter, dictionary evidence alone



                                                  37
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 38 of 70 PageID# 6206



 can be sufficient to satisfy the USPTO’s burden, where the mark has only one pertinent

 meaning.” (citing Boulevard, 334 F.3d at 1340–41)).

        However, when dictionaries are not unanimous in their characterization of a term,

 additional evidence must be adduced to satisfy the PTO’s burden. Reversing the TTAB’s

 finding that a mark was scandalous based solely on discordant dictionary characterizations, the

 Federal Circuit explained:

                In view of the existence of such an alternate, non-vulgar definition,
                the Board, without more, erred in concluding that in the context of
                the adult entertainment magazine, the substantial composite of the
                general public would necessarily attach to the mark BLACK TAIL
                the vulgar meaning of “tail” as a female sexual partner, rather than
                the admittedly non-vulgar meaning of “tail” as rear end. In the
                absence of evidence as to which of these definitions the substantial
                composite would choose, the PTO failed to meet its burden of
                proving that Mavety’s mark is within the scope of § 1052(a)
                prohibition.

 Mavety Media Grp., 33 F.3d at 1373–74 (emphasis added).

        1. The Meaning of the Matter in Question is a Reference to Native Americans

        The Court finds that the meaning of the matter in question in all six Redskins Marks—the

 term “redskins” and derivatives thereof—is a reference to Native Americans. PFI admits that

 “redskins” refers to Native Americans. The team has consistently associated itself with Native

 American imagery. First, two of the Redskins Marks contain an image of a man in profile that

 alludes to Native Americans, including one that also has a spear 14 that alludes to Native

 Americans. Registration No. 0986668 (left) and Registration No. 0987127 depict:




 14
   See generally How Native American Spears Have Been Used Through History, INDIANS.ORG,
 http://www. indians.org/articles/native-american-spears.html (last visited July 6, 2015).
                                                 38
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 39 of 70 PageID# 6207




 Second, the team’s football helmets contain an image of a Native American in profile:




 See Blackhorse v. Pro-Football, Inc., 111 U.S.P.Q.2d 1080, 2014 WL 2757516, at *8 (T.T.A.B.

 2014) (citation omitted). Third, the team’s marching band wore Native American headdresses as

 part of their uniforms from at least 1967–1990:




                                                   39
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 40 of 70 PageID# 6208



 Id.; see also Criss Decl. Ex. 118 at 0:51–1:30; Ex. 130, 132–37. Fourth, as shown below, the

 Redskins cheerleaders, the “Redskinettes,” also dressed in Native American garb and wore

 stereotypical black braided-hair wigs:15




 Blackhorse, 2014 WL 2757516, at *8. Lastly, Washington Redskins’ press guides displayed

 Native American imagery:




                                                      Id.

 As stated by the TTAB in Harjo and confirmed by the D.C. District Court:
 15
  See generally MAUREEN TRUNDLE SCHWARZ, FIGHTING COLONIALISM WITH HEGEMONIC CULTURE:
 NATIVE AMERICAN APPROPRIATION OF INDIAN STEREOTYPES (2013).
                                              40
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 41 of 70 PageID# 6209



               This is not a case where, through usage, the word “redskin(s)” has
               lost its meaning, in the field of professional football, as a reference
               to Native Americans in favor of an entirely independent meaning
               as the name of a professional football team. Rather, when
               considered in relation to the other matter comprising at least two of
               the subject marks and as used in connection with respondent’s
               services, “Redskins” clearly both refers to respondent’s
               professional football team and carries the allusion to Native
               Americans inherent in the original definition of that word.

 Pro-Football, Inc. v. Harjo, 284 F. Supp. 2d 96, 127 (D.D.C. 2003) (quoting Harjo v. Pro-

 Football, Inc., 50 U.S.P.Q.2d 1705, 1999 WL 375907, at *41 (T.T.A.B. 1999)). The Court

 agrees and finds that because PFI has made continuous efforts to associate its football team with

 Native Americans during the relevant time period, the meaning of the matter in question is a

 reference to Native Americans.

        2. The Redskins Marks “May Disparage” a Substantial Composite of Native
           Americans During the Relevant Time Period

        The Court finds that the meaning of the marks is one that “may disparage” a substantial

 composite of Native Americans in the context of the “Washington Redskins” football team. The

 relevant period for the disparagement inquiry is the time at which the marks were registered.

 Blackhorse, 2014 WL 2757516, at *4 (citations omitted). Here, the Court focuses on the time

 period between 1967 and 1990. When reviewing whether a mark “may disparage,” the PTO

 does not, and practically cannot, conduct a poll to determine the views of the referenced group.

 See In re Loew’s Theatres, Inc., 769 F.2d 764, 768 (Fed. Cir. 1985). Instead, three categories of

 evidence are weighed to determine whether a term “may disparage”: (1) dictionary definitions

 and accompanying editorial designations; (2) scholarly, literary, and media references; and (3)

 statements of individuals or group leaders of the referenced group regarding the term. See Am.

 Freedom Def. Initiative v. Mass. Bay Transp. Auth., 781 F.3d 571, 585 (1st Cir. 2015)

 (dictionaries); In re Geller, 751 F.3d 1355, 1358 (Fed. Cir. 2014) (dictionaries and news


                                                 41
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 42 of 70 PageID# 6210



 reports/articles); In re Lebanese Arak Corp., 94 U.S.P.Q.2d 1215, 2010 WL 766488, at *5

 (T.T.A.B. 2010) (dictionary); In re Heeb Media, LLC, 89 U.S.P.Q.2d 1071, 2008 WL 5065114,

 at *5 (T.T.A.B. 2008) (dictionaries and individual and group sentiment); In re Squaw Valley

 Dev. Co., 80 U.S.P.Q.2d 1264, 2006 WL 1546500, at *10–*14 (T.T.A.B. 2006) (dictionaries,

 literary and media references, and individual and group statements).

        Furthermore, by using the term “may disparage,” Section 2(a) does not require that the

 mark holder possess an intent to disparage in order to deny or cancel a registration. See Harjo,

 284 F. Supp. 2d at 125; Blackhorse, 2014 WL 2757516, at *9–*10 (citing Heeb Media, 2008 WL

 5065114, at *8; Squaw Valley, 2006 WL 1546500)). Also, in order to be cancelled or denied

 registration, the marks must consist of matter that “may disparage” in the context of the goods

 and services provided. See In re McGinley, 660 F.2d 481, 485 (C.C.P.A. 1981).

               a. Dictionary Evidence

        First, the record evidence contains dictionary definitions and accompanying designations

 of “redskins” that weigh in favor of finding that the Redskins Marks consisted of matter that

 “may disparage” a substantial composite of Native Americans when each of the six marks was

 registered. Dictionary evidence is commonly considered when deciding if a term is one that

 “may disparage.” See Am. Freedom Def. Initiative v. Mass. Bay Transp. Auth., 781 F.3d 571,

 585 (1st Cir. 2015); In re Geller, 751 F.3d 1355, 1358 (Fed. Cir. 2014); In re Lebanese Arak

 Corp., 94 U.S.P.Q.2d 1215, 2010 WL 766488, at *5 (T.T.A.B. 2010); In re Heeb Media, LLC,

 89 U.S.P.Q.2d 1071, 2008 WL 5065114, at *5 (T.T.A.B. 2008); In re Squaw Valley Dev. Co., 80

 U.S.P.Q.2d 1264, 2006 WL 1546500, at *10–*14 (T.T.A.B. 2006).

        The record contains several dictionaries defining “redskins” as a term referring to North

 American Indians and characterizing “redskins” as offensive or contemptuous:



                                                42
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 43 of 70 PageID# 6211



    1. Webster’s Collegiate Dictionary 682 (1898) (“often contemptuous”);

    2. The Random House Dictionary of the English Language 1204 (1966) (“Often
       Offensive”);

    3. Random House Dictionary of the English Language 1204 (1967) (“Often Offensive”);

    4. Random House Dictionary of the English Language 1204 (1973) (“Often Offensive”);

    5. Thorndike-Barnhart Intermediate Dictionary 702 (2d ed. 1974) (“a term often considered
       offensive”);

    6. Oxford American Dictionary 564 (1980) (“contemptuous”);

    7. The American Heritage Dictionary of the English Language: Second College Edition
       1037 (1982) (“Offensive Slang”);

    8. Webster’s Ninth New Collegiate Dictionary 987 (1983) (“usu[ally] taken to be
       offensive”);

    9. Merriam-Webster Collegiate Dictionary (1983) (“usu[ally] taken to be offensive”);

    10. Collier’s Dictionary (1986) (“considered offensive”); and

    11. Oxford English Dictionary 429 (2d ed. 1989) (“Not the preferred term”).

        PFI attempts to rebut Blackhorse Defendants’ dictionary evidence by arguing that (1) that

 the usage label evidence is not relevant because none of the usage labels use the word

 “disparage”; (2) the modifiers “usually” or “often” make the labels conditional and thus

 irrelevant under Section 2(a); (3) usage labels are chosen at the dictionary editor-in-chief’s

 discretion with no industry standards for selection; and (4) many dictionaries considered

 “redskin” a neutral term and only began affixing negative usage labels to it within the last few

 decades. These arguments fail as they ignore the great weight the Federal Circuit affords to

 dictionary usage labels.

        The Court finds that PFI’s argument that dictionary usage labels such as “offensive” and

 “contemptuous” do not implicate Section 2(a) because they do not label the term “disparaging”

 is unpersuasive for two reasons. First, the Federal Circuit and the TTAB use “offensive” and

                                               43
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 44 of 70 PageID# 6212



 “disparage” interchangeably when deciding whether a mark consists of matter that “may

 disparage.” See, e.g., In re Geller, 751 F.3d 1355 (Fed. Cir. 2014); In re Lebanese Arak Corp.,

 94 U.S.P.Q.2d 1215, 2010 WL 766488 (T.T.A.B. 2010); In re Heeb Media, LLC, 89 U.S.P.Q.2d

 1071, 2008 WL 5065114 (T.T.A.B. 2008); In re Squaw Valley Dev. Co., 80 U.S.P.Q.2d 1264,

 2006 WL 1546500 (T.T.A.B. 2006). Furthermore, because the parties conceded that the test for

 “contempt or disrepute” under Section 2(a) is the same as the “may disparage” test, the

 distinction between “disparage” and “contemptuous” is one without a difference.

        Second, the Court rejects PFI’s argument that the modifiers on the usage labels made

 them conditional and thus irrelevant. In In re Tinseltown, Inc., 212 U.S.P.Q. 863, 1981 WL

 40474 (T.T.A.B. 1981), an applicant attempted to register the mark BULLSHIT for personal

 accessories.   The Examiner relied on dictionaries unanimously characterizing the mark as

 “usu[ally] considered vulgar” to conclude that it consisted of scandalous matter under Section

 2(a). See In re Mavety Media Grp., 33 F.3d 1367, 1372 (Fed. Cir. 1994) (citing Tinseltown,

 1981 WL 40474, at *2). The TTAB affirmed the Examiner’s decision.

        The Federal Circuit cited Tinseltown with approval on the unanimous usage label issue in

 In re Mavety Media Grp., 33 F.3d 1367 (Fed. Cir. 1994). Notably, that case involved Section

 2(a)’s scandalous provision, which requires a showing that the mark consists of or comprises

 immoral or scandalous matter. Section 2(a)’s “may disparage” prohibition sets a lower bar as it

 only requires a showing that the mark consists of or comprises matter that “may disparage.”

 Because the Federal Circuit cited Tinseltown with approval in Mavety Media Grp. and Section

 2(a) only requires that a mark “may disparage,” the Court finds PFI’s argument regarding the

 relevance of usage labels unpersuasive.




                                               44
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 45 of 70 PageID# 6213



         Moreover, in the context of Section 2(a) scandalous actions, the Federal Circuit has found

 that dictionary definitions and their accompanying usage labels alone, if unanimous in their

 characterizations, sufficiently demonstrate that a substantial composite of the general public

 finds that a mark consists of or comprises scandalous matter.16 Boulevard, 334 F.3d at 1340–41.

 The Federal Circuit finds usage labels probative, and even dispositive, on that issue. The TTAB

 has recognized that the Federal Circuit’s approach to usage labels in scandalous matter actions is

 instructive when weighing usage labels in the “may disparage” context. See In re Heeb Media,

 LLC, 89 U.S.P.Q.2d 1071, 2008 WL 5065114, at *5 (T.T.A.B. 2008). Moreover, the TTAB

 looks to dictionary definitions and usage labels when determining whether a mark “may

 disparage” under Section 2(a). See, e.g., In re Lebanese Arak Corp., 94 U.S.P.Q.2d 1215, 2010

 WL 766488, at *5 (T.T.A.B. 2010).

         Furthermore, Dr. David Barnhart, one of PFI’s linguistics experts, said that characterizing

 “redskins” as “disparaging” from 1967 to 1985 is too strong a term to apply. Criss Decl. Ex. 14

 at 181:9–12. However, he did declare that in that same time period, the term “certainly might be

 offensive.” Id. This weighs in favor of finding that “redskins” “may disparage” for two reasons.

 First, Dr. Barnhart stated that “disparage” required intent, Criss Decl. Ex. 14 at 181:13–182:3,

 and both parties agree that “may disparage,” which is the standard posed by Section 2(a)—not

 does disparage—does not require intent. Second, as explained above, in Section 2(a) “may

 disparage” cases both the Federal Circuit and the TTAB use “disparage” and derivatives of

 “offend” interchangeably. Thus, the Court finds that Dr. Barnhart’s declaration that “redskins”


 16
    The Court acknowledges that under the “immoral, deceptive, or scandalous” part of Section 2(a), the
 determination must be made “in the context of contemporary attitudes.” See Boulevard, 334 F.3d at 1340.
 While this is a different standard than what is required when determining whether a mark consists of or
 comprises matter that “may disparage,” the Court holds that this difference is immaterial because in “may
 disparage” actions, the Court can only consider evidence regarding the referenced group’s perception of a
 term that is contemporaneous with the mark’s registration.
                                                    45
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 46 of 70 PageID# 6214



 “certainly might be offensive” is highly probative and weighs in favor of finding that “redskins”

 “may disparage” a substantial composite of Native Americans during the relevant time period.

         Finally, the expert linguists from both parties, Dr. Geoffrey Nunberg for Blackhorse

 Defendants and Ronald Butters for PFI, both agree that dictionaries tend to lag in updating usage

 labels for ethnic slurs. (Doc. 71 at 70.) This shows that Webster’s Collegiate Dictionary (1898)

 (“often contemptuous”), The Random House Dictionary of the English Language (1966) (“Often

 Offensive”), and The Random House Dictionary of the English Language (1967) (“Often

 Offensive”) were not inaccurate in recognizing that the term was “often contemptuous” or “often

 offensive.” Instead, it suggests that the term “redskin” may have been viewed as offensive or

 contemptuous well in advance of the 1898 entry.

         Because both Federal Circuit and TTAB precedent establish that usage labels are

 relevant, the Court rejects PFI’s challenges and finds that the record evidence of eleven

 dictionary definitions and their usage labels describing “redskins” as “offensive” or

 “contemptuous,” along with Dr. Barnhart’s testimony that “redskins” “might be offensive,”

 weigh towards finding that between 1967 and 1990, the Redskins Marks consisted of matter that

 “may disparage” a substantial composite of Native Americans.

                 b. Scholarly, Literary, and Media References

         Second, the record evidence contains scholarly, literary, and media references that weigh

 in favor of finding that “redskins” “may disparage” a substantial composite of Native Americans

 when each of the six Redskins Marks was registered.17 Scholarly, literary, and media references

 evidence is often considered when evaluating whether a mark consists of or comprises matter

 that “may disparage.” See In re Geller, 751 F.3d 1355, 1358 (Fed. Cir. 2014) (citing articles

 17
   See Criss Decl. Exs. 29–55 for newspaper articles discussing the controversy surrounding the team
 name “Washington Redskins.”


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Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 47 of 70 PageID# 6215



 from the Chicago Tribune and the Courier News to show that associating Islam with terrorism

 “may disparage” Muslims); In re Heeb Media, LLC, 89 U.S.P.Q.2d 1071, 2008 WL 5065114, at

 *5 (T.T.A.B. 2008) (referencing an article in the New York Observer to demonstrate that “heeb”

 “may disparage” the Jewish community); In re Squaw Valley Dev. Co., 80 U.S.P.Q.2d 1264,

 2006 WL 1546500, at *10–*14 (T.T.A.B. 2006) (holding that the record evidence, including

 articles from more than ten newspapers and periodicals, sufficiently demonstrated that “squaw”

 “may disparage” Native Americans).

         Here, there are several examples of scholarly, literary, and media references, including:

      1. Encyclopedia Britannica 452 (1911) (“Other popular terms for the American Indians
         which have more or less currency are ‘red race,’ ‘Red man,’ ‘Redskin,’ the last not in
         such good repute as the corresponding German Routhaüte, or French Peaux-rouges,
         which have scientific standing.”);

      2. Erdman B. Palmore, Ethnophaulisms and Ethnocentrism, 67 AM. J. SOCI. 442, 442 (1962)
         (noting that “redskin” is an ethnophaulism18 used for Native Americans); 19

      3. Alan Dundes and C. Fayne Porter, American Indian Student Slang, 38 AM. SPEECH 270,
         271 (1963) (stating that “[a]lmost all the students” at the Haskell Institute, a federally-
         operated post-secondary coeducational vocational training school for Native Americans,
         “resent being called redskins”);20

      4. Tom Quinn, Redskins/Rednecks, WASH. DAILY NEWS, Nov. 5, 1971 (“John Parker, . . . a
         Choctaw from Oklahoma who works for the Bureau of Indian Affairs, was indignant.
         ‘They should change the name,’ he said. ‘It lacks dignity, a haphazard slang word that
         refers to Indians in general but on a lower scale. It is the white people’s way of making a
         mockery, like they used to do to the blacks in the South.’”);


 18
   An ethnophaulism is a word used as an ethnic slur to refer to out-groups in hate speech. See Tirza
 Leader et al., Complexity and Valence in Ethnophaulisms and Exclusion of Ethnic Out-Groups: What
 Puts the “Hate” Into Hate Speech?, 96 J. PERS’Y & SOC. PSYCHOL. 170, 170 (2009) (citations omitted).
 19
   See generally American Journal of Sociology, U. CHI. PRESS J., http://www.press.uchicago.edu/ucp/
 journals/ journal/ajs.html (last visited July 6, 2015) (“Established in 1895 as the first U.S. scholarly
 journal in its field, American Journal of Sociology remains a leading voice for analysis and research in
 the social sciences.” (emphasis added)).
 20
   About the American Dialect Society, AM. DIALECT SOC’Y, http://www.american dialect.org/ (last
 visited July 6, 2015) (“The American Dialect Society, founded in 1889, is dedicated to the study of the
 English language in North America” and publishes the American Speech as a quarterly journal).
                                                     47
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 48 of 70 PageID# 6216



    5. Tom Quinn, Indians Are Starting to Fight Back, WASH. DAILY NEWS, Jan. 26, 1972, at 72
       (reporting that Hal Gross, director of the Indian Legal Information Development Service
       (“ILIDS”), wrote a letter to PFI president Edward Bennett Williams decrying the team
       name as “derogatory” and a “racial epithet”; noting that Laura Wittstock, a Seneca leader
       in ILIDS, described a newspaper advertisement depicting former-coach George Allen in
       Native headdress, with the caption “Hail to the Redskins: Washington has gained pride . .
       . even if we lost a little scalp out west” as “degrading” and “insulting”);




    6. Russ White, Williams’ Answer: What’s in a Name?, WASH. POST, Jan. 27, 1972, at C1
       (“Particularly annoying to 750,000 American Indians is the word ‘redskin.’ To them the
       word is a racist slur, no more acceptable than the word ‘nigger’ is to a black man and no
       more acceptable than the term ‘white trash’ is among the poor in the South.”);

    7. Tom Quinn, Redskins Face Suit, WASH. DAILY NEWS, Feb. 18, 1972, at 107 (quoting
       Laura Wittstock calling the “Washington Redskins” team name an ethnic slur);

    8. Shelby Coffey III, Indians Open War on Redskins, WASH. POST, Mar. 30, 1972 (noting
       that a delegation of eleven people “representing a variety of Indian organizations” met
       with team president Edward Bennett Williams, including LaDonna Harris, president of
       Americans for Indian Opportunity (“AIO”) and wife of Senator Fred Harris; the group
       sought to have Williams change the team name from the “derogatory” racial epithet
       “Washington Redskins”);

    9. Editorial, The Double Eagle Ticket, BALT. SUN, July 20, 1972, at A14 (“[F]or several
       years Indian organizations have been trying to get [the Redskins] to change their
       name[].”);

    10. Paul Kaplan, Moral Question: Do We Defame Native Americans?, WASH. SUNDAY STAR
        & DAILY NEWS, Aug. 13, 1972, at C6 (recognizing that the team name “Redskins . . . is
        considered offensive by many Indians”; quoting a Native American woman protesting the


                                              48
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 49 of 70 PageID# 6217



       team name because Native Americans are the only “living ethnic group . . . used as a
       symbol”);

    11. George Solomon, Redskins Keep Name, Will Change Lyrics, WASH. POST, July 18, 1972
        (explaining that the Washington Redskins would retain their name but would change
        lyrics to their fight song, including references to “scalp ‘em,” because Native Americans
        groups had convinced the owner that the lyrics were offensive);

    12. In 1972, the University of Utah dropped the nickname “Redskins” out of concern that it
        disparaged Native Americans. (See Doc. 71 at 20);

    13. Alden Vaughan, From White Man to Redskin: Changing Anglo-American Perceptions of
        the American Indian, 87 AM. HIST. REV. 917, 942, 949 (1982) (“redskins” is an
        “epithet”);

    14. Haig Bosmajian, Defining the ‘American Indian’: A Case Study in the Language of
        Suppression, in EXPLORING LANGUAGE 295 (3d ed. 1983) (“Our language includes
        various phrases and words which relegate the Indian to an inferior status,” including
        “Redskins”);

    15. Robert Keller, Hostile Language: Bias in Historical Writing About American Indian
        Resistance, 9 J. AM. CULTURE 9, 15 (1986) (using “redskin” as an example of
        “deprecatory language”);

    16. Rose Gutfeld, A Native American Group Lobbies NFL’s Redskins to Change Name,
        WALL ST. J., 1987 (Phil St. John, a Sioux and leader of a Minneapolis group called
        “Concerned American Indian Parents,” described “Redskins” as “probably the most racist
        Indian-related team name.”). The group used the following poster:




                                               49
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 50 of 70 PageID# 6218



 “Pittsburgh Negroes, Kansas City Jews, San Diego Caucasians, Cleveland Indians. Maybe Now
 You Know How Native Americans Feel.”21

       17. Don Boxmeyer, Humboldt Urged to Leave Indians in Peace, ST. PAUL PIONEER
           DISPATCH, Nov. 29, 1987 (“’The Washington Redskins are the worst,’ said Fred
           Veilleux, an Ujibway Indian . . . . ‘There is nothing more disrespectful or demeaning than
           to call an Indian a redskin. It would be like calling a black man a nigger.’”);

       18. Mark Grossman, ‘Redskins Irks Indians; Protests Planned, FAIRFAX J., Jan. 21, 1988
           (Russell Sacks of NCAI said the team name “Washington Redskins” is “blatantly racist”
           and provides a negative image of Native Americans);

       19. Clarence Page, It’ll Be the Broncos v. a Racial Slur, CHI. TRIB., Jan. 24, 1988 (“To
           Native Americans, ‘redskin’ is as offensive as . . . ‘wetback [is to Mexicans] . . . . [G]ood
           intentions are no excuse for insulting the offspring of this land’s original people.”);

       20. Paul Sand, Do Not Continue to Smear American Indians in Team Names, ST. PAUL
           PIONEER PRESS DISPATCH, Jan. 28, 1988, at 17A (“In American folklore the redskin was a
           savage who was believed to possess animal-like prowess, who killed innocent white
           settlers, who raped white women, who kidnapped white children. To white supremists,
           red-pigmented skin was synonymous with subhuman brutality. The richness of Indian
           culture . . . can never be communicated by the symbolic gesture of naming a team the
           Redskins . . . .”);

       21. Editorial, ‘Redskins’ is Racist, STANFORD DAILY, Feb. 2, 1988 (explicating the
           derogatory nature of the “Washington Redskins” name);

       22. Pat Helmberger, Consider Religious Significance, BEMIDJI PIONEER, Feb. 5, 1988 (“Why
           then is it so difficult to understand the feelings of Native American people? Why do we
           say, ‘How ridiculous!’ when we are asked to change the name of a team from the
           ‘Redskins’ to something that is non-offensive?”);

       23. Tim Giago,22 Op-Ed., If the Name Redskins Doesn’t Bother Team Owner, How About
           Blackskins, LAKTOA TIMES, reprinted in SIOUX FALLS ARGUS LEADER, Feb. 21, 1988
           (“Redskins is, and was intended to be, a very strong racial epithet against American
           Indians . . . . A common usage in . . . newspaper history was Redskinned nigger.”);

       24. Erik Brady, Indians: A People, Not a Nickname, USA TODAY, Aug. 15, 1988 (Phil St.
           John and Susan Harjo (Cheyenne and Hodulgee Muscogee, respectively) explain how
           offensive “Washington Redskins” is to Native Americans);

       25. Sam Thorp, Mascot Could Be Part of a Bigger Problem, THE PENN, Dec. 8, 1989, at 7
           (“There have been groups that have tried to stop the professional sports teams [from
           using Native Americans as mascots]. The private owners have so far just been successful

 21
      Bob Bernotas, D.C. Group Tackles the Redskins, BALT. JEWISH TIMES, Feb. 12, 1988, at 64–65.
 22
      Author is an Oglala Lakota and served as the publisher of the Lakota Times.
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Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 51 of 70 PageID# 6219



        at blocking their attempts. Let me say one thing about the word ‘redskin.’ It is the most
        derogatory word that can be used to describe an Indian. By actually calling an Indian a
        redskin you might get the same reaction from them as you would get if you called a black
        a nigger.”);

    26. JAY COAKLEY, SPORTS IN SOCIETY: ISSUES AND CONTROVERSIES 206 (1990) (“The use of
        the name Redskins cannot be justified under any conditions. To many Native Americans,
        redskin is as derogatory as ‘nigger’ is for black Americans.”); and

    27. IRVING LEWIS ALLEN, UNKIND WORDS: ETHNIC LABELING FROM REDSKIN TO WASP 3, 18
        (1990) (identifying “redskin” as a slur for Native Americans).

    Here, based on the evidence presented in Geller, Heeb Media, and Squaw Valley, the Court

 finds that the scholarly, literary, and media references evidence weighs in favor of finding that

 the Redskins Marks consisted of matter that “may disparage” a substantial composite of Native

 Americans between 1967 and 1990.           For example, as early as 1911, sources such as

 Encyclopedia Britannica contemplated the poor standing of the term “redskins.” The Court finds

 that Encyclopedia Britannica is a well-respected source. The Supreme Court has referenced

 Encyclopedia Britannica entries approximately 40 times since 1846, with over 25 of those

 references occurring before the first Redskins Mark was registered in 1967. See, e.g., Kennedy v.

 Mendoza-Martinez, 372 U.S. 144, 187 (1963) (“Magna Carta”); Gaines v. Herman, 65 U.S. 553,

 581, 589 (1860) (“Inquisition”); Moore v. Am. Transp. Co., 65 U.S. 1, 25 (1860) (“Navigation,

 Inland”).      The Supreme Court has repeatedly relied on Encyclopedia Britannica as an

 authoritative source and this Court shall do the same.

        Prior to the first mark’s registration in 1967, there were two renowned journals and an

 Encyclopedia Britannica reference that illustrate the term’s disfavor among Native Americans.

 Taken altogether, the Court finds that these three pieces of evidence establish that in 1967, the

 date of the first registration, evidence existed that showed that the Redskins Marks consisted of

 matter that “may disparage” a substantial composite of Native Americans during the relevant

 time period.

                                                 51
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 52 of 70 PageID# 6220



                 c. Statements of Individuals or Group Leaders

         Third, the record evidence contains statements of Native American individuals or leaders

 of Native American groups that weigh in favor of finding that the Redskins Marks consisted of

 matter that “may disparage” a substantial composite of Native Americans during the relevant

 time period. The TTAB considers statements from individuals in the referenced group and

 leaders of organizations within that referenced group when it makes its “may disparage” finding.

 See In re Heeb Media, LLC, 89 U.S.P.Q.2d 1071, 2008 WL 5065114, at *5 (T.T.A.B. 2008); In

 re Squaw Valley Dev. Co., 80 U.S.P.Q.2d 1264, 2006 WL 1546500, at *10–*14 (T.T.A.B. 2006).

         Blackhorse Defendants reference a 1972 meeting between PFI’s president and a few

 major Native American organizations about the “Washington Redskins” team name to show that

 it “may disparage.” In March 1972, a delegation of Native American leaders met with the then-

 President of PFI, Edward Bennett Williams, to demand that the team change its name. The

 group included: (1) Leon Cook, President of NCAI;23 (2) Dennis Banks, National Director of the

 American Indian Movement (“AIM”);24 (3) Ron Aguilar, District Representative of the National

 Indian Youth Council (“NIYC”);25 (4) LaDonna Harris, President of AIO;26 (5) Richard


 23
   NCAI was established in 1944 “in response to the termination and assimilation policies that the U.S.
 government forced upon tribal governments in contradiction of their treaty rights and status of sovereign
 nations.” The group is “one of the most important intertribal political organizations of the modern era. It
 has played a crucial role in stimulating Native political awareness and activism, provided a forum for
 debates on vital issues affecting reservations and tribes, overseeing litigation efforts, and organizing
 lobbying activities in Washington.” See generally NATIONAL CONGRESS OF AMERICAN INDIANS,
 www.ncai.org (last visited July 6, 2015).
 24
   AIM was founded in 1968 in response to police violence against Native Americans. By the early
 1970s, AIM “had become the country’s largest militant Indian organization with thousands of members,
 supporters and sympathizers from virtually all Indian tribes.” (Doc. 71, Ex. C). See generally AMERICAN
 INDIAN MOVEMENT, www.aimovement.org (last visited July 6, 2015).
 25
   NIYC was founded in 1961 and claims to be the second oldest national American Indian organization.
 NIYC advocates diligently and continuously to ensure that every American Indian has equitable access to
 educational opportunities, health and social services, employment and civil rights. See generally
 NATIONAL INDIAN YOUTH COUNCIL, INC., www.niyc-alb.org/ (last visited July 6, 2015).
                                                     52
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 53 of 70 PageID# 6221



 LaCourse, News Director in the Washington Bureau of the American Indian Press Association

 (“AIPA”);27 (6) Laura Wittstock, Editor of Legislative Review for ILIDS;28 (7) Hanay

 Geiogamah, Assistant to the Commissioner of Indian Affairs and the Youth Representative from

 the Bureau of Indian Affairs; and (8) Ron Petite, AIM. Criss Decl. Ex. 64 at 18:6–19:5; Ex. 66.

 Articles from the Washington Post and the Washington Daily News state that around the time of

 the meeting, NCAI’s membership was approximately 300,000–350,000 members.                         See

 Blackhorse, 2014 WL 275716, at *19–*20.

        The next day, Williams wrote to NFL Commissioner Pete Rozelle to inform him about

 the meeting, noting that the “delegation of American Indian leaders . . . vigorously object[ed] to

 the continued use of the name Redskins.” Criss Decl. Ex. 3. Although Williams did not change

 the team name after the meeting, he did change the fight song and altered the cheerleaders’

 outfits so that they were less stereotypical. (Doc. 71 at 19.)

        The Court finds this meeting probative on the issue of whether the mark consisted of

 matter that “may disparage” a substantial composite of Native Americans during the relevant

 time period. Representatives of several prominent Native American organizations protesting the

 “Redskins” name is strong evidence that the term “may disparage.” Williams himself regarded

 the Native Americans he met with as “leaders,” rather than a group of individuals representing

 their own interests. (Id.)


 26
   AIO was founded by LaDonna Harris in 1970 to advance the cultural, political, and economic lives of
 indigenous peoples in the United States and around the word. See generally AMERICANS FOR INDIAN
 OPPORTUNITY, www.aio.org (last visited July 6, 2015).
 27
   AIPA was founded in 1970 to provide a news service and address issues common to Native American
 newspapers. See THEDA PERDUE et al., NORTH AMERICAN INDIANS: A VERY SHORT INTRODUCTION 121
 (2010).
 28
   ILIDS was an educational and legislative oversight organization run by Harold Gross. (Doc. 71 at 17–
 18.)
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Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 54 of 70 PageID# 6222



        In support of their argument that prominent Native American organizations and leaders in

 the Native American community have long opposed the use of the term “redskins” as the name

 of an NFL football team name, Blackhorse Defendants have submitted several declarations.

 Below are quotes from the declarations of four prominent Native Americans: Raymond Apodaca

 (former Area Vice President of NCAI and Governor for the Yselta Del Sur Pueblo); Leon Cook

 (former NCAI President and former Council Member and Tribal Administrator for the Red Lake

 Nation); Kevin Gover (prominent attorney, former Assistant Secretary of the Interior for Indian

 Affairs, and current Director of the Smithsonian Institution’s National Museum of the American

 Indian); and Suzanne Harjo (former Executive Director of the NCAI and 2014 recipient of the

 Presidential Medal of Freedom for her work on behalf of Native Americans). Each declaration

 affirms Blackhorse Defendants’ argument that from 1967 to 1990, the Redskins Marks consisted

 of matter that “may disparage” a substantial composite of Native Americans.

        Raymond Apodaca was born in 1946 and is a member of the Yselta Del Sur Pueblo.

 Apodaca Decl. ¶ 2. Apodaca is a former Executive Director of the Texas Indian Commission,

 serving in that capacity from 1982–1989.       Id. ¶ 7.   From 1991–1992, he was the Tribal

 Administrator for the Yselta Del Sur Pueblo. Id. ¶ 5. At the time, Tribal Administrator was the

 highest administrative role within the tribe. Id. He also served as Tribal Governor for the same

 pueblo from 1990–1992. Id. Apodaca has been an active member of the NCAI since 1973. Id. ¶

 6. Apodaca declared that “NCAI is the oldest and the preeminent Native American organization,

 representing the majority of Native Americans on a variety of political, cultural, and social

 policy issues.” Id. ¶ 7.

        He further stated that because NCAI represents the majority of Native Americans in

 federally recognized tribes, NCAI is the best organization to consult to discern an understanding



                                                54
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 55 of 70 PageID# 6223



 of Native Americans’ position on an issue. Id. ¶ 12. He held several leadership positions in

 NCAI, including Area Vice President. Apodaca has thought that “redskin,” both the term and

 the professional football team name, was a racial slur against Native Americans since the 1960s.

 Id. ¶¶ 13–15.

        Leon Cook was born in 1939 and is a member of the Red Lake Band of Chippewa

 Indians. Cook Decl. ¶ 2. Between 1970 and 1971, Cook worked for the Bureau of Indian

 Affairs. Id. ¶ 3. He has held various roles in the Red Lake Nation, including Tribal Council

 Representative, member of the tribal governing council, a Tribal Administrator, and Human

 Resources Director. Id. ¶ 4.

        Cook has been an active member of NCAI since 1966 and was elected its president in

 1971. Id. ¶¶ 5–6. While Cook was president of NCAI, 100–150 tribes were members. Id. ¶ 6.

 As president, Cook also served as the head of NCAI’s Executive Council. Id. ¶ 8. Its role was to

 identify “issues of concern to the Native American membership and develop[] strategies to

 address those issues.” Id. Cook invited representatives of AIM, NIYC, and AIO to a 1972

 Executive Council meeting. At this meeting, the four groups concluded that they shared a

 common interest in opposing the “Washington Redskins” name as it was “bigoted,

 discriminatory, and offensive to Native Americans.” Id. ¶ 10.

        Cook further stated that in 1973, the NCAI General Assembly voted in favor of a

 resolution calling for the “Washington Redskins” to change the team name. Id. ¶ 14. According

 to Cook, NCAI has maintained its opposition to the name, formalizing the opposition with

 resolutions in the early 1990s. Id. ¶ 15. Finally, Cook declared, “Throughout my life, I have

 maintained my opposition to the Washington football team’s name. I believe the use of the term




                                               55
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 56 of 70 PageID# 6224



 ‘redskin’ in any context—professional athletics or otherwise—is derogatory, disparaging, and

 demeaning to Native Americans.” Id. ¶ 16.

          Kevin Gover was born in 1955 and is a citizen of the Pawnee Indian Nation. Gover Decl.

 ¶¶ 2–3.    Gover grew up thinking that “redskin” was a racial slur.      Id. ¶ 4.   Gover was

 occasionally called a “redskin” during his upbringing. He stated:

                 I vividly recall a time when I was in fourth grade when another
                 child called me a “dirty redskin” on the playground. In addition,
                 when I played for my junior high school football team, members of
                 opposing teams sometimes would call me a “redskin” as a form of
                 bullying or “trash talking” on the field.

 Id. ¶ 5. Gover’s parents moved to Washington, D.C. in 1971 so his father could work for the

 AIO. Gover claimed that he remembers his parents and other Native Americans in their social

 circle “expressing their dismay that the local NFL football team used an ethnic slur against

 Native Americans as its team name.” Id. ¶ 6. This helped motivate Gover to write a letter to

 Edward Bennett Williams. In his letter, Gover noted that several hundred thousand Native

 Americans find the team name “Redskins” offensive and suggested that Williams change the

 team name to the “Washington Niggers” in order to stick with his “ethnic theme.” Gover Decl.

 Ex. A.

          Finally, Susan Harjo’s declaration is also evidence of the disparaging nature of the

 “Washington Redskins” team name. Harjo was born in 1945 and is a citizen and enrolled

 member of the Cheyenne and Arapho Tribes of Oklahoma. Harjo Decl. ¶ 3. Harjo currently

 serves as the President and Executive Director of The Morning Star Institute, “a Native

 American cultural organization that is dedicated to Native Peoples’ traditional and cultural

 rights, historical research and arts promotion.” Id. ¶ 2. Growing up, Harjo and her family

 members often heard “redskin” being used as a slur. Harjo explained:



                                                56
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 57 of 70 PageID# 6225



                   In the 1950s, my brothers, cousins and Cheyenne friends were
                   often called “redskins” by white children at school . . . and
                   sometimes by their parents. On one especially upsetting and
                   painful occasion, an elementary school teacher argued with me
                   about our family history and the Battle of Little Big Horn, and he
                   angrily called me names, including “redskin.” He also slandered
                   my great-great-grandfather, Chief Bull Bear, and called him a
                   “redskin” and pushed me into a rosebush. I also remember
                   shopkeepers calling me the epithet “redskin.” Altogether, white
                   people probably called me the slur “redskin,” or called the group I
                   was with “redskins,” at least 100 times.

 Id. ¶ 5.

            In 1962, Harjo was selected by the Business Committee of the Cheyenne and Arapho

 Tribes of Oklahoma to be a part of a tribal delegation to federal meetings in Washington, D.C.

 Id. ¶ 10. She recalled members of the delegation complaining about the “Redskins” signage and

 promotion in Washington, with tribal leaders saying something to the effect of, “No wonder such

 bad Indian policy comes out of D.C.; look what bad things they call us.” Id. Harjo also served

 as the Executive Director of the NCAI from 1984–1989. While in that role, Harjo “reflected and

 carried out the position of NCAI to oppose the name of the Washington NFL team and to call for

 its elimination.” Id. ¶ 13. Lastly, Harjo noted that she has always regarded “redskin” as a racial

 slur and deems it “the most awful slur that can be used to refer to Native American nations,

 tribes, and persons.” Id. ¶ 19.

            The Court finds that the declarations from these prominent Native American individuals

 and leaders, replete with the actions of groups concerning the “Washington Redskins” football

 team and anecdotes of personal experiences with the term “redskin,” show that the Redskins

 Marks consisted of matter that “may disparage” a substantial composite of Native Americans

 during the relevant time period.




                                                   57
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 58 of 70 PageID# 6226



        Additional evidence that the marks consisted of matter that “may disparage” is found in

 the NCAI Resolution. In 1993, the Executive Council of the NCAI passed a resolution on the

 “Washington Redskins” team name. Founded in 1944, NCAI bills itself as “the oldest and

 largest intertribal organization nationwide representative of, and advocate for national, regional,

 and local tribal concerns.” Criss Decl. Ex. 108. The resolution provided, in pertinent part, that,

 “[T]he term REDSKINS is not and has never been one of honor or respect, but instead it has

 always been and continues to be a pejorative, derogatory, denigrating, offensive, scandalous,

 contemptuous, disreputable, disparaging and racist designation for Native American[s].” Criss

 Decl. Ex. 108 (emphasis added). The Court finds that this resolution is probative of NCAI’s

 constituent members’ collective opinion of the term “redskin” and PFI’s marks for many years,

 including when the last Redskins Mark was registered.          See In re Heeb Media LLC, 89

 U.S.P.Q.2d 1071, 2008 WL 5065114, at *1 (T.T.A.B. 2008) (affirming denial of registration of a

 mark based in part on excerpts from “individuals representing Jewish groups or in their

 individual capacity,” which provided that they “consider the term HEEB to be a disparaging”).

        PFI objects to this evidence on relevancy grounds because the resolution was passed

 outside of the relevant time period. However, as suggested by the TTAB in Blackhorse, this is

 just like any other testimony from individuals that was taken after the fact: witnesses testify

 about what they perceived in the past. PFI may challenge the weight this evidence is afforded

 but the words of the resolution are indisputable: this national organization of Native Americans

 declared that the term “REDSKINS” has always been derogatory, offensive, and disparaging.

 Because this evidence tends to prove or disprove a matter, see FED. R. EVID. 401, the Court

 overrules PFI’s objection and finds that the resolution is probative of whether a substantial




                                                 58
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 59 of 70 PageID# 6227



 composite of Native Americans thought “redskin” “may disparage” them during the relevant

 time period.

        Throughout PFI’s briefs it appears to suggest that the evidence of the 1972 meeting with

 former-PFI president Williams, NCAI’s 1993 resolution on the team name, and any other

 evidence of Native American opposition is immaterial because “mainstream Native Americans”

 support the team name “Washington Redskins.” Respondents in In re Heeb Media, LLC, 89

 U.S.P.Q.2d 1071, 2008 WL 5065114 (T.T.A.B. 2008), and In re Squaw Valley Dev. Co., 80

 U.S.P.Q.2d 1264, 2006 WL 1546500 (T.T.A.B. 2006), also tried to dismiss the views of those

 finding a term offensive as out of the mainstream. The TTAB rejected this argument both times.

 The Court agrees with the TTAB’s approach and similarly rejects PFI’s attempted

 characterization of some of Blackhorse Defendants’ witnesses and their respective testimony.

 That a “substantial composite” is not necessarily a majority further compels this result.

 Assuming the Court accepted PFI’s proffered dichotomy of “mainstream” versus “avant-garde”

 members of a referenced group, as a matter of principle it is indisputable that those with “non-

 mainstream” views on whether a term is disparaging can certainly constitute a substantial

 composite of a referenced group. The Court finds that to be the case here.

        PFI sought to rebut Blackhorse Defendants’ evidence multiple ways. First, PFI relies

 upon the 1977 All-Indian Half-Time Marching Band and Pageant and Native Americans naming

 their own sports teams “Redskins” to argue that the term is not disparaging. (Doc. 100 at 37.)

 Hundreds of Native Americans participated in the half-time program and several-hundred more

 applied but were ultimately not able to partake in the event. (Id.) PFI contends that the “positive

 tone” of the Native American press reports on the event, among other things, shows that the

 mark did not consist of matter that “may disparage” a substantial composite Native Americans



                                                 59
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 60 of 70 PageID# 6228



 during the relevant time period. (Id.) Additionally, PFI maintains that Native Americans’ own

 extensive use of the term “Redskins” for different nicknames and the names of over twenty local

 sports teams precludes it from being considered as a term that “may disparage.”

         The Court finds these arguments unpersuasive because this evidence does not show that a

 there is not a substantial composite of Native Americans who find the matter was one that “may

 disparage.” Heeb is again instructive. Heeb involved an effort to register the mark HEEB for

 apparel and the publication of magazines. In re Heeb Media, LLC, 89 U.S.P.Q.2d 1071, 2008

 WL 5065114, at *1 (T.T.A.B. 2008). The TTAB acknowledged that there was a movement

 within the Jewish community to take command of the term “heeb” and not be offended by it. Id.

 at *5–*6. However, despite the fact that “many of this country’s most established Jewish

 philanthropies and cultural organizations have openly and actively supported Applicant’s

 magazine,” id. at *3, the TTAB held that the evidence showed there was still a substantial

 composite of Jewish individuals who would find the term “heeb” to be one that “may disparage.”

         In Heeb, the TTAB explained that disparate views within the community of the

 referenced group countenance reliance on the rule that a substantial composite is not necessarily

 a majority. The TTAB wrote:

                With regard to applicant’s argument that a minority opinion should
                not veto registration of a particular mark, this is not in keeping
                with the standard set forth by our primary reviewing court. While
                case law does not provide a fixed number or percentage, it is well
                established that a “substantial composite” is not necessarily a
                majority. Here we have clear evidence that a substantial composite
                of the referenced group considers HEEB to be a disparaging term.
                The examining attorney has presented evidence from various
                segments of the Jewish community, including the Anti-Defamation
                League, a university professor, rabbis, a talk-show host and
                ordinary citizens.

 Id. at *8.




                                                60
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 61 of 70 PageID# 6229



        The current case mirrors the circumstances in Heeb. Similar to Heeb, segments of the

 Native American community have decried “redskin” as disparaging, including the NCAI, a

 former tribal leader, and an author. The Court recognizes PFI’s evidence that some members of

 the Native American community did not ever, and do not now, find “redskin” disparaging,

 whether in the context of the “Washington Redskins” or not.          As reinforced in Heeb, the

 substantial composite rule does not require that a majority of the referenced group find that a

 mark consists of matter that “may disparage.” Id. Accordingly, PFI’s argument that the 1977

 halftime show and the use of “Redskins” as a nickname by Native Americans means that the

 term is not one that “may disparage” must fail because, consistent with Heeb, the record

 evidence shows that a substantial composite of Native Americans find that the term is offensive.

        Accordingly, the Court finds that the record evidence of statements from Native

 American leaders and groups weighs in favor of finding that between 1967 and 1990, the

 Redskins Marks consisted of matter that “may disparage” a substantial composite of Native

 Americans.

        Through Section 2(a) of the Lanham Act, 15 U.S.C. § 1052(a), Congress has made a

 judgment that the federal trademark registration program will not register marks that “may

 disparage” different groups. A denial or cancellation of registration simply signifies that because

 a mark does not meet the requirements of the federal trademark registration program, the mark

 owner will not be able “to call upon the resources of the federal government in order to enforce

 that mark.” In re Fox, 702 F.3d 633, 640 (Fed. Cir. 2012).

        The determination of whether a substantial composite of the referenced group believes

 that a mark consists of a term that “may disparage” is not a mathematical equation requiring the

 parties to argue over whether the evidence shows that a specific threshold was met. See Heeb,



                                                 61
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 62 of 70 PageID# 6230



 2008 WL 5065114, at *8 (citation omitted). Instead, courts consider (1) dictionary definitions

 and accompanying editorial designations; (2) scholarly, literary, and media references; and (3)

 statements of individuals or group leaders of the referenced group on the term.

        Here, the Court finds that the record contains evidence in all three categories

 demonstrating that between 1967 and 1990, the Redskins Marks consisted of matter that “may

 disparage” a substantial composite of Native Americans. The dictionary evidence included

 multiple definitions describing the term “redskin” in a negative light, including one from 1898—

 almost seventy years prior to the registration of the first Redskins Mark—characterizing

 “redskin” as “often contemptuous.” The record evidence also includes references in renowned

 scholarly journals and books showing that “redskin” was offensive prior to 1967. Encyclopedia

 Britannica described its poor repute in 1911. The record evidence also shows that in 1972

 NCAI, a national Native American organization founded in 1944, sent its president to

 accompany leaders of other Native American organizations at a meeting with the president of

 PFI to demand that the team’s named be changed.          NCAI also passed a resolution which

 provided that it has always found the term and team name “Redskins” to be derogatory,

 offensive, and disparaging.

        PFI cites to no cases from either the Federal Circuit or the TTAB where the record

 contained evidence of (1) multiple dictionary definitions and usage labels showing that a term

 was “often offensive” and “often contemptuous”; (2) scholarly, literary, and media references in

 journals, books, newspaper articles and editorials, and encyclopedias referencing a term as

 “derogatory,” “deprecatory,” an “ethnophaulism,” and a “racial epithet”; and (3) statements

 from individuals and organizations in the referenced group explaining how a mark consists of

 matter that is offensive to them, and the mark owner was still permitted to maintain a federal



                                                62
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 63 of 70 PageID# 6231



 trademark registration. That is because the case law is clear: when all three categories contain

 evidence that a mark consists of matter that “may disparage” a substantial composite of the

 referenced group, the TTAB and the Federal Circuit have denied or cancelled the mark’s

 registration.

         This remains true even when there is also dictionary evidence that does not characterize

 the term as offensive, literary references using the term in a non-disparaging fashion, and

 statements from members of the referenced group demonstrating that they do not think the mark

 consists of matter that “may disparage.” That is because Section 2(a) does not require a finding

 that every member of the referenced group thinks that the matter “may disparage.” Nor does it

 mandate a showing that a majority of the referenced group considers the mark one that consists

 of matter that “may disparage.” Instead, Section 2(a) allows for the denial or cancellation of a

 registration of any mark that consists of or comprises matter that “may disparage” a substantial

 composite of the referenced group.

         The Court finds that Blackhorse Defendants have shown by a preponderance of the

 evidence that there is no genuine issue of material fact as to the “may disparage” claim: the

 record evidence shows that the term “redskin,” in the context of Native Americans and during

 the relevant time period, was offensive and one that “may disparage” a substantial composite of

 Native Americans, “no matter what the goods or services with which the mark is used.” In re

 Squaw Valley Dev. Co., 80 U.S.P.Q.2d 1264, 2006 WL 1546500, at *16 (T.T.A.B. 2006).

 “Redskin” certainly retains this meaning when used in connection with PFI’s football team; a

 team that has always associated itself with Native American imagery, with nothing being more

 emblematic of this association than the use of a Native American profile on the helmets of each

 member of the football team.



                                                63
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 64 of 70 PageID# 6232




                                            See supra.

        Accordingly, the Court finds that the Redskins Marks consisted of matter that “may

 disparage” a substantial composite of Native Americans during the relevant time period, 1967–

 1990, and must be cancelled. Also, consistent with the parties’ concession that Section 2(a)’s

 “may disparage” and “contempt or disrepute” provisions use the same legal analysis, the Court

 further finds that the Redskins Marks consisted of matter that bring Native Americans into

 “contempt or disrepute.” Thus, Blackhorse Defendants are entitled to summary judgment on

 Count II.

        The Court so holds with the benefit of a supplemented record and post-2003 cases from

 the Federal Circuit and TTAB applying Section 2(a) of the Lanham Act—items that the district

 court in Harjo was not privy to when it made its initial ruling. See Pro-Football, Inc. v. Harjo,

 284 F. Supp. 2d 96 (D.D.C. 2003).          Specifically, this record contained the following

 supplemental evidence:

    1. Evidence establishing that in 1962, “almost all the students at Haskell Institute
       resent[ed] being called redskins” (at the time, Haskell was a post-secondary
       vocational school for American Indians, with 1,000 students);

    2. Evidence establishing the NCAI, AIM, and other diverse Indian organizations
       found common ground to fight the team name and met with PFI’s President in
       1972 to demand that PFI change the team name;



                                                64
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 65 of 70 PageID# 6233



      3. Evidence establishing that in 1972, the University of Utah dropped the name
         “Redskins” due to concern that the term was offensive;

      4. Evidence establishing further efforts by NCAI over several decades to bring about
         a change in PFI’s team name;

      5. Declarations from prominent Native Americans and representatives of Native
         American organizations regarding their own experiences with “redskin” used as a
         slur, their understanding of the term, and the basis of their understanding; and

      6. Additional data analysis by Dr. Nunberg demonstrating the negative connotations
         of “redskin.”

 (See Doc. 71 at 2.)

         Also, the standard of review here is different than the standard in Harjo. In Harjo, the

 court applied the APA’s “substantial evidence” standard: “the Court will reverse the TTAB’s

 findings of fact only if they are ‘unsupported by substantial evidence.’” Harjo, 284 F. Supp. 2d

 at 114 (citing 5 U.S.C. § 706). In Harjo, the TTAB made only limited findings of fact in two

 areas: linguists’ testimony and survey evidence.29 Harjo, 284 F. Supp. 2d at 119. Thus, it was

 only those two areas that were subjected to court scrutiny under the substantial evidence

 standard. See id. Here, the TTAB made 39 findings of fact in two areas: “General Analysis of

 the Word” and “Native American Objection to Use of the Word Redskins for Football Teams.”

 Blackhorse, 2014 WL 2757516, at *25–*28. Moreover, because the TTAB review in this case

 was brought pursuant to 15 U.S.C. § 1071(b), the Court reviews the entire record de novo—the

 Court is not restricted to only reviewing the TTAB’s findings of fact like the district court in

 Harjo. Even if that was true, the TTAB’s findings of fact in Blackhorse were more thorough

 than the findings of fact in Harjo.




 29
   The survey was conducted by Harjo’s survey expert Dr. Ivan Ross, President of Ross Research and a
 former Professor of Marketing and Adjunct Professor of Psychology with the Carlson School of
 Management of the University of Minnesota.
                                                 65
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 66 of 70 PageID# 6234



    D. Laches

        With regard to PFI’s laches challenge, the Court DENIES PFI’s Cross-Motion for

 Summary Judgment on Claims I, II, and VII, and GRANTS Blackhorse Defendants’ Motion for

 Summary Judgment on Counts I, II, and VII of Complaint for two reasons. The disparagement

 claim is not barred by laches because (1) Blackhorse Defendants did not unreasonably delay in

 petitioning the TTAB; and (2) the public interest at stake weighs against its application.

                1. No Unreasonable Delay

        The laches defense, which PFI bears the burden of proving, requires proof of (1) “[a] lack

 of due diligence by the party against whom the defense is asserted, and (2) prejudice to the party

 asserting the defense.” Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 121–22 (2002)

 (internal quotation marks omitted); see also Sara Lee Corp. v. Kayser-Roth Corp., 81 F.3d 455,

 461 (4th Cir. 1996) (citation omitted) (“In a trademark case, courts may apply the doctrine of

 estoppel by laches to deny relief to a plaintiff who, though having knowledge of an infringement,

 has, to the detriment of the defendant, unreasonably delayed in seeking redress.” (emphasis

 added)). The applicability of laches “depends upon the particular circumstances of the case.”

 White v. Daniel, 909 F.2d 99, 102 (4th Cir. 1990) (citing Nat’l Wildlife Fed. v. Burford, 835 F.2d

 305, 318 (D.C. Cir. 1987)).

        In order to prevail in its laches defense, PFI must prove that, after turning age 18, each

 Defendant unreasonably delayed in petitioning the TTAB to cancel the Redskins Marks.

 Brittingham v. Jenkins, 914 F.2d 447, 456 (4th Cir. 1990); see also Pro-Football, Inc. v. Harjo,

 415 F.3d 44, 48–49 (D.C. Cir. 2005). Here, each of the Blackhorse Defendants was under the

 age of 18 in April 1999 when the TTAB granted the Harjo petition to cancel the Redskins

 Marks’ registrations. (See Doc. 51 at 2; Doc. 1 ¶ 17.) The Harjo proceedings in federal court



                                                 66
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 67 of 70 PageID# 6235



 concluded in 2009. Because Blackhorse Defendants filed their petition with the TTAB in 2006,

 while the Harjo proceedings were pending, the Court finds that they did not unreasonably or

 unjustifiably delay in petitioning the TTAB. It was sensible for Blackhorse Defendants to see

 how the cancellation proceedings in the district court progressed. As stated by Blackhorse

 Defendants, filing any earlier than 2006, one year after the district court’s reversal of the

 TTAB’s finding that the Redskins Marks “may disparage,” might have resulted in the filing of

 unnecessary petitions. Thus, to the extent that Blackhorse Defendants did delay in filing their

 petition to cancel the Redskins Marks, the Court finds that the delay was not unreasonable.

 Accordingly, the Court holds that Blackhorse Defendants are entitled to summary judgment on

 Count VII.

                2. Public Interest

        The Court holds that laches does not apply because of the public interest implicated.

 Public interest is a factor that weighs against the application of laches. See Resorts of Pinehurst,

 Inc. v. Pinehurst Nat’l Corp., 148 F.3d 417, 423 (4th Cir. 1998). The Court agrees with the

 TTAB’s finding that there “is an overriding public interest in removing from the register marks

 that are disparaging to a segment of the population beyond the individual petitioners.”

 Blackhorse, 2014 WL 2757516, at *32. The Court finds that the particular facts and

 circumstances of this case, namely that Blackhorse Defendants petitioned to cancel the Redskins

 Marks during other pending litigation seeking cancellation of the same marks on the same

 grounds (Harjo), demonstrate that the application of laches should be barred because of the

 public’s interest in being free from encountering registered marks that “may disparage.”

 Accordingly, the Court holds that the TTAB did not err in rejecting PFI’s laches argument and

 Blackhorse Defendants are entitled to summary judgment on Count VII.



                                                 67
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 68 of 70 PageID# 6236



                                         CONCLUSION

        The Court DENIES PFI’s Motion for Summary Judgment on Constitutional Claims and

 GRANTS the cross-motions for summary judgment filed by Blackhorse Defendants and the

 United States of America. With regard to PFI’s First Amendment challenge, the Court DENIES

 PFI’s Motion for Summary Judgment on Constitutional Claims and GRANTS the cross-motions

 for summary judgment filed by Blackhorse Defendants and the United States of America for two

 reasons. First, Section 2(a) of the Lanham Act does not implicate the First Amendment. Second,

 the federal trademark registration program is government speech and is therefore exempt from

 First Amendment scrutiny.

        With regard to PFI’s Fifth Amendment challenge, the Court DENIES PFI’s Motion for

 Summary Judgment on Constitutional Claims and GRANTS the cross-motions for summary

 judgment filed by Blackhorse Defendants and the United States of America for two reasons.

 First, Section 2(a) of the Lanham Act is not void for vagueness because (1) PFI cannot show that

 Section 2(a) is unconstitutional in all of its applications; (2) Section 2(a) gives fair warning of

 what conduct is prohibited; (3) Section 2(a) does not authorize or encourage “arbitrary and

 discriminatory enforcement”; and (4) Section 2(a) is not impermissibly vague as-applied to PFI.

 Second, the Takings Clause and Due Process Clause claims fail because a trademark registration

 is not considered property under the Fifth Amendment.

        The Court DENIES PFI’s Cross-Motion for Summary Judgment on Claims I, II, and VII,

 and GRANTS Blackhorse Defendants’ Motion for Summary Judgment on Counts I, II, and VII

 of Complaint. With regard to PFI’s “may disparage” claim, the Court DENIES PFI’s Cross-

 Motion for Summary Judgment on Claims I, II, and VII, and GRANTS Blackhorse Defendants’

 Motion for Summary Judgment on Counts I, II, and VII of Complaint because the (1) dictionary



                                                 68
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 69 of 70 PageID# 6237



 evidence; (2) literary, scholarly, and media references; and (3) statements of individuals and

 groups in the referenced group show that the Redskins Marks consisted of matter that “may

 disparage” a substantial composite of Native Americans during the relevant time period.

        With regard to PFI’s laches claim, the Court DENIES PFI’s Cross-Motion for Summary

 Judgment on Claims I, II, and VII, and GRANTS Blackhorse Defendants’ Motion for Summary

 Judgment on Counts I, II, and VII of Complaint for two reasons. First, the “may disparage”

 claim is not barred by laches because Blackhorse Defendants did not unreasonably delay in

 petitioning the TTAB. Second, laches does not apply because of the public interest at stake.

        The Court has applied the Lanham Act to the issue presented in this trademark

 cancellation proceeding: whether a substantial composite of Native Americans deem the term

 “redskin” as one that “may disparage” in the context of PFI’s Redskins Marks during the

 relevant time period. The evidence before the Court supports the legal conclusion that between

 1967 and 1990, the Redskins Marks consisted of matter that “may disparage” a substantial

 composite of Native Americans. Section 2(a) of the Lanham Act requires cancellation of the

 registrations of PFI’s Redskins Marks, resulting in their removal from the PTO’s Principal

 Register.

        To be clear, the Court’s judgment is not an order that precludes PFI from using the marks

 in commerce. Nor does the Court’s ruling that the Redskins Marks consisted of matter that “may

 disparage” a substantial composite of Native Americans during the relevant time period preclude

 sports fans from collecting, wearing, or displaying the Redskins Marks. Courts do not create

 trademarks; only businesses like PFI control their own destiny with respect to how the public

 discerns the source and origin of PFI’s goods and services. What actions, if any, PFI takes going

 forward with the marks are a business judgment beyond the purview of this Court’s jurisdiction.



                                                69
Case 1:14-cv-01043-LO-IDD Document 161 Filed 07/08/15 Page 70 of 70 PageID# 6238
